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                                                       RESEARCH ARTICLE

                                                       Parent reports of adolescents and young
                                                       adults perceived to show signs of a rapid
                                                       onset of gender dysphoria
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a1111111111
a1111111111
a1111111111                                            Abstract
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                                                       Purpose
                                                       In on-line forums, parents have reported that their children seemed to experience a sudden
    OPEN ACCESS                                        or rapid onset of gender dysphoria, appearing for the first time during puberty or even after its
Citation: Littman L (2018) Parent reports of           completion. Parents describe that the onset of gender dysphoria seemed to occur in the con-
adolescents and young adults perceived to show
                                                       text of belonging to a peer group where one, multiple, or even all of the friends have become
signs of a rapid onset of gender dysphoria. PLoS
ONE 13(8): e0202330. https://doi.org/10.1371/          gender dysphoric and transgender-identified during the same timeframe. Parents also report
journal.pone.0202330                                   that their children exhibited an increase in social media/internet use prior to disclosure of a
Editor: Daniel Romer, University of Pennsylvania,      transgender identity. Recently, clinicians have reported that post-puberty presentations of
UNITED STATES                                          gender dysphoria in natal females that appear to be rapid in onset is a phenomenon that they
Received: October 7, 2017                              are seeing more and more in their clinic. Academics have raised questions about the role of
                                                       social media in the development of gender dysphoria. The purpose of this study was to collect
Accepted: August 1, 2018
                                                       data about parents’ observations, experiences, and perspectives about their adolescent and
Published: August 16, 2018
                                                       young adult (AYA) children showing signs of an apparent sudden or rapid onset of gender
Copyright: © 2018 Lisa Littman. This is an open        dysphoria that began during or after puberty, and develop hypotheses about factors that may
access article distributed under the terms of the
                                                       contribute to the onset and/or expression of gender dysphoria among this demographic
Creative Commons Attribution License, which
permits unrestricted use, distribution, and            group.
reproduction in any medium, provided the original
author and source are credited.
                                                       Methods
Data Availability Statement: The data cannot be
                                                       For this descriptive, exploratory study, recruitment information with a link to a 90-question
made available due to ethical and regulatory
restrictions. The study participants did not provide   survey, consisting of multiple-choice, Likert-type and open-ended questions was placed on
consent to have their responses shared publicly,       three websites where parents had reported sudden or rapid onsets of gender dysphoria
shared in public databases, or shared with outside     occurring in their teen or young adult children. The study’s eligibility criteria included parental
researchers. The Program for the Protection of
Human Subjects (PPHS) at the Icahn School of
                                                       response that their child had a sudden or rapid onset of gender dysphoria and parental indi-
Medicine at Mount Sinai is not permitting the          cation that their child’s gender dysphoria began during or after puberty. To maximize the
sharing of data beyond what is reported in the         chances of finding cases meeting eligibility criteria, the three websites (4thwavenow, trans-
paper owing to the sensitive nature of the collected
                                                       gender trend, and youthtranscriticalprofessionals) were selected for targeted recruitment.
information, the context of the study topic, its
release’s possible impact on the participants’         Website moderators and potential participants were encouraged to share the recruitment
reputation and standing in the community, and the      information and link to the survey with any individuals or communities that they thought



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risk of participant recognition through linkage of     might include eligible participants to expand the reach of the project through snowball sam-
details. As participants’ identifiers were not         pling techniques. Data were collected anonymously via SurveyMonkey. Quantitative find-
collected it is not possible to contact participants
and ask for their consent to disclose at this time.
                                                       ings are presented as frequencies, percentages, ranges, means and/or medians. Open-
For any questions about restriction on data            ended responses from two questions were targeted for qualitative analysis of themes.
sharing, please contact PPHS at the Icahn School
of Medicine at Mount Sinai (IRB@mssm.edu).
                                                       Results
Funding: The author received no specific funding
for this work.                                         There were 256 parent-completed surveys that met study criteria. The AYA children
                                                       described were predominantly natal female (82.8%) with a mean age of 16.4 years at the
Competing interests: Lisa Littman, MD, MPH,
provides public health consulting on topics            time of survey completion and a mean age of 15.2 when they announced a transgender-
unrelated to this research. She is a member of         identification. Per parent report, 41% of the AYAs had expressed a non-heterosexual sexual
several professional organizations including the       orientation before identifying as transgender. Many (62.5%) of the AYAs had reportedly
American College of Preventive Medicine (ACPM),
                                                       been diagnosed with at least one mental health disorder or neurodevelopmental disability
the American Public Health Association (APHA),
the Society for Adolescent Health and Medicine         prior to the onset of their gender dysphoria (range of the number of pre-existing diagnoses
(SAHM), the Society of Family Planning (SFP), the      0–7). In 36.8% of the friendship groups described, parent participants indicated that the
International Academy of Sex Research (IASR),          majority of the members became transgender-identified. Parents reported subjective
and the World Professional Association for
                                                       declines in their AYAs’ mental health (47.2%) and in parent-child relationships (57.3%)
Transgender Health (WPATH).
                                                       since the AYA “came out” and that AYAs expressed a range of behaviors that included:
                                                       expressing distrust of non-transgender people (22.7%); stopping spending time with non-
                                                       transgender friends (25.0%); trying to isolate themselves from their families (49.4%), and
                                                       only trusting information about gender dysphoria from transgender sources (46.6%). Most
                                                       (86.7%) of the parents reported that, along with the sudden or rapid onset of gender dyspho-
                                                       ria, their child either had an increase in their social media/internet use, belonged to a friend
                                                       group in which one or multiple friends became transgender-identified during a similar time-
                                                       frame, or both


                                                       Conclusion
                                                       This descriptive, exploratory study of parent reports provides valuable detailed information
                                                       that allows for the generation of hypotheses about factors that may contribute to the onset
                                                       and/or expression of gender dysphoria among AYAs. Emerging hypotheses include the pos-
                                                       sibility of a potential new subcategory of gender dysphoria (referred to as rapid-onset gender
                                                       dysphoria) that has not yet been clinically validated and the possibility of social influences
                                                       and maladaptive coping mechanisms. Parent-child conflict may also explain some of the
                                                       findings. More research that includes data collection from AYAs, parents, clinicians and
                                                       third party informants is needed to further explore the roles of social influence, maladaptive
                                                       coping mechanisms, parental approaches, and family dynamics in the development and
                                                       duration of gender dysphoria in adolescents and young adults.




                                                       Introduction
                                                       In recent years, a number of parents have begun reporting in online discussion groups such as
                                                       4thwavenow in the US (https://4thwavenow.com) and Transgender Trend in the UK (https://
                                                       www.transgendertrend.com) that their adolescent and young adult (AYA) children, who have
                                                       had no histories of childhood gender identity issues, experienced a perceived sudden or rapid



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                                           onset of gender dysphoria. Parents have described clusters of gender dysphoria in pre-existing
                                           friend groups with multiple or even all members of a friend group becoming gender dysphoric
                                           and transgender-identified in a pattern that seems statistically unlikely based on previous
                                           research [1–8]. Parents describe a process of immersion in social media, such as “binge-watch-
                                           ing” YouTube transition videos and excessive use of Tumblr, immediately preceding their
                                           child becoming gender dysphoric [1–2, 9]. These types of presentations have not been
                                           described in the research literature for gender dysphoria [1–10] and raise the question of
                                           whether social influences may be contributing to or even driving these occurrences of gender
                                           dysphoria in some populations of adolescents and young adults. (Note: The terminology of
                                           “natal sex”, including the terms “natal female” and “natal male”, will be used throughout this
                                           article. Natal sex refers to an individual’s sex as it was observed and documented at the time of
                                           birth. Some researchers also use the terminology “assigned at birth”.)


                                           Background
                                           Gender dysphoria in adolescents
                                           Gender dysphoria (GD) is defined as an individual’s persistent discomfort with their biological
                                           sex or assigned gender [11]. Two types of gender dysphoria studied include early-onset gender
                                           dysphoria, where the symptoms of gender dysphoria begin in early childhood, and late-onset
                                           gender dysphoria, where the symptoms begin after puberty [11]. Late-onset gender dysphoria
                                           that occurs during adolescence is now called adolescent-onset gender dysphoria. The majority
                                           of adolescents who present for care for gender dysphoria are individuals who experienced
                                           early-onset gender dysphoria that persisted or worsened with puberty although an atypical
                                           presentation has been described where adolescents who did not experience childhood symp-
                                           toms present with new symptoms in adolescence [7, 12]. Adolescent-onset of gender dysphoria
                                           has only recently been reported in the literature for natal females [5,10, 13–14]. In fact, prior to
                                           2012, there were little to no research studies about adolescent females with gender dysphoria
                                           first beginning in adolescence [10]. Thus, far more is known about adolescents with early-
                                           onset gender dysphoria than adolescents with adolescent-onset gender dysphoria [6, 15].
                                           Although not all research studies on gender dysphoric adolescents exclude those with adoles-
                                           cent-onset gender dysphoria [10], it is important to note that most of the studies on adoles-
                                           cents, particularly those about gender dysphoria persistence and desistance rates and
                                           outcomes for the use of puberty suppression, cross-sex hormones, and surgery only included
                                           subjects whose gender dysphoria began in childhood and subjects with adolescent-onset gen-
                                           der dysphoria would not have met inclusion criteria for these studies [16–24]. Therefore, most
                                           of the research on adolescents with gender dysphoria to date is not generalizable to adolescents
                                           experiencing adolescent-onset gender dysphoria [16–24] and the outcomes for individuals
                                           with adolescent-onset gender dysphoria, including persistence and desistence rates and out-
                                           comes for treatments, are currently unknown.
                                               As recently as 2012, there were only two clinics (one in Canada and one in the Netherlands)
                                           that had gathered enough data to provide empirical information about the main issues for gen-
                                           der dysphoric adolescents [25]. Both institutions concluded that the management of adoles-
                                           cent-onset gender dysphoria is more complicated than the management of early-onset gender
                                           dysphoria and that individuals with adolescent-onset are more likely to have significant psy-
                                           chopathology [25]. The presentation of gender dysphoria can occur in the context of severe
                                           psychiatric disorders, developmental difficulties, or as part of large-scale identity issues and,
                                           for these patients, medical transition might not be advisable [13]. The APA Task Force on the
                                           Treatment of Gender Identity Disorder notes that adolescents with gender dysphoria “should
                                           be screened carefully to detect the emergence of the desire for sex reassignment in the context



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                                           of trauma as well as for any disorder (such as schizophrenia, mania, psychotic depression) that
                                           may produce gender confusion. When present, such psychopathology must be addressed and
                                           taken into account prior to assisting the adolescent’s decision as to whether or not to pursue
                                           sex reassignment or actually assisting the adolescent with the gender transition.” [25].

                                           Demographic and clinical changes for gender dysphoria
                                           Although, by 2013, there was research documenting that a significant number of natal males
                                           experienced gender dysphoria that began during or after puberty, there was little information
                                           about this type of presentation for natal females [5]. Starting in the mid-2000s there has been a
                                           substantial change in demographics of patients presenting for care with most notably an
                                           increase in adolescent females and an inversion of the sex ratio from one favoring natal males
                                           to one favoring natal females [26–28]. And now, some clinicians have noted that they are see-
                                           ing increasingly in their clinic, the phenomenon of natal females expressing a post-puberty
                                           rapid onset of gender dysphoria [14]. Some researchers have suggested that increased visibility
                                           of transgender people in the media, availability of information online, with a partial reduction
                                           of stigma may explain some of the increases in numbers of patients seeking care [27], but these
                                           factors would not explain the reversal of the sex ratio, disproportionate increase in adolescent
                                           natal females, and the new phenomenon of natal females experiencing gender dysphoria that
                                           begins during or after puberty. If there were cultural changes that made it more acceptable for
                                           natal females to seek transition [27], that would not explain why the reversal of the sex ratio
                                           reported for adolescents has not been reported for older adult populations [26]. There are
                                           many unanswered questions about potential causes for the recent demographic and clinical
                                           changes for gender dysphoric individuals.

                                           Social and peer influences
                                           Parental reports (on social media) of friend clusters exhibiting signs of gender dysphoria [1–4]
                                           and increased exposure to social media/internet preceding a child’s announcement of a trans-
                                           gender identity [1–2, 9] raise the possibility of social and peer influences. In developmental psy-
                                           chology research, impacts of peers and other social influences on an individual’s development
                                           are sometimes described using the terms peer contagion and social contagion, respectively. The
                                           use of “contagion” in this context is distinct from the term’s use in the study of infectious dis-
                                           ease, and furthermore its use as an established academic concept throughout this article is not
                                           meant in any way to characterize the developmental process, outcome, or behavior as a disease
                                           or disease-like state, or to convey any value judgement. Social contagion [29] is the spread of
                                           affect or behaviors through a population. Peer contagion, in particular, is the process where an
                                           individual and peer mutually influence each other in a way that promotes emotions and behav-
                                           iors that can potentially have negative effects on their development [30]. Peer contagion has
                                           been associated with depressive symptoms, disordered eating, aggression, bullying, and drug
                                           use [30–31]. Internalizing symptoms such as depression can be spread via the mechanisms of
                                           co-rumination, which entails the repetitive discussion of problems, excessive reassurance seek-
                                           ing (ERS), and negative feedback [30, 32–34]. Deviancy training, which was first described for
                                           rule breaking, delinquency, and aggression, is the process whereby attitudes and behaviors asso-
                                           ciated with problem behaviors are promoted with positive reinforcement by peers [35, 36].
                                              Peer contagion has been shown to be a factor in several aspects of eating disorders. There
                                           are examples in the eating disorder and anorexia nervosa literature of how both internalizing
                                           symptoms and behaviors have been shared and spread via peer influences [37–41] which may
                                           have relevance to considerations of a rapid onset of gender dysphoria occurring in AYAs.
                                           Friendship cliques can set the norms for preoccupation with one’s body, one’s body image,



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                                           and techniques for weight loss, and can predict an individual’s body image concerns and eat-
                                           ing behaviors [37–39]. Peer influence is intensified in inpatient and outpatient treatment set-
                                           tings for patients with anorexia and counter-therapeutic subcultures that actively promote the
                                           beliefs and behaviors of anorexia nervosa have been observed [39–41]. In these settings, there
                                           is a group dynamic where the “best” anorexics (those who are thinnest, most resistant to gain-
                                           ing weight, and who have experienced the most medical complications from their disease) are
                                           admired, validated, and seen as authentic while the patients who want to recover from
                                           anorexia and cooperate with medical treatment are maligned, ridiculed, and marginalized
                                           [39–41]. Additionally, behaviors associated with deceiving parents and doctors about eating
                                           and weight loss, referred to as the “anorexic tricks,” are shared by patients in a manner akin to
                                           deviancy training [39–41]. Online environments provide ample opportunity for excessive reas-
                                           surance seeking, co-rumination, positive and negative feedback, and deviancy training from
                                           peers who subscribe to unhealthy, self-harming behaviors. The pro-eating disorder sites pro-
                                           vide motivation for extreme weight loss (sometimes calling the motivational content “thin-
                                           spiration”)[42–44]. Such sites promote validation of eating disorder as an identity, and offer
                                           “tips and tricks” for weight loss and for deceiving parents and doctors so that individuals may
                                           continue their weight-loss activities [42–44]. If similar mechanisms are at work in the context
                                           of gender dysphoria, this greatly complicates the evaluation and treatment of impacted AYAs.
                                               In the past decade, there has been an increase in visibility, social media, and user-generated
                                           online content about transgender issues and transition [45], which may act as a double-edged
                                           sword. On the one hand, an increase in visibility has given a voice to individuals who would
                                           have been under-diagnosed and undertreated in the past [45]. On the other hand, it is plausible
                                           that online content may encourage vulnerable individuals to believe that nonspecific symp-
                                           toms and vague feelings should be interpreted as gender dysphoria stemming from a transgen-
                                           der condition. Recently, leading international academic and clinical commentators have raised
                                           the question about the role of social media and online content in the development of gender
                                           dysphoria [46]. Concern has been raised that adolescents may come to believe that transition
                                           is the only solution to their individual situations, that exposure to internet content that is
                                           uncritically positive about transition may intensify these beliefs, and that those teens may pres-
                                           sure doctors for immediate medical treatment [25]. There are many examples on popular sites
                                           such as Reddit (www.reddit.com with subreddit ask/r/transgender) and Tumblr (www.tumblr.
                                           com) where online advice promotes the idea that nonspecific symptoms should be considered
                                           to be gender dysphoria, conveys an urgency to transition, and instructs individuals how to
                                           deceive parents, doctors, and therapists to obtain hormones quickly [47]. Fig 1 includes exam-
                                           ples of online advice from Reddit and Tumblr.

                                           Purpose
                                           Rapid presentations of adolescent-onset gender dysphoria occurring in clusters of pre-existing
                                           friend groups are not consistent with current knowledge about gender dysphoria and have not
                                           been described in the scientific literature to date [1–8]. The purpose of this descriptive, explor-
                                           atory research is to (1) collect data about parents’ observations, experiences, and perspectives
                                           about their AYA children showing signs of a rapid onset of gender dysphoria that began dur-
                                           ing or after puberty, and (2) develop hypotheses about factors that may contribute to the onset
                                           and/or expression of gender dysphoria among this demographic group.

                                           Materials and methods
                                           The Icahn School of Medicine at Mount Sinai, Program for the Protection of Human Subjects
                                           provided approval of research for this project (HS#: 16–00744).



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                                           Fig 1. Example quotes of online advice from Reddit and Tumblr.
                                           https://doi.org/10.1371/journal.pone.0202330.g001

                                           Participants
                                           During the recruitment period, 256 parents completed online surveys that met the study crite-
                                           ria. The sample of parents included more women (91.7%) than men (8.3%) and participants
                                           were predominantly between the ages of 45 and 60 (66.1%) (Table 1). Most respondents were
                                           White (91.4%), non-Hispanic (99.2%), and lived in the United States (71.7%). Most respon-
                                           dents had a Bachelor’s degree (37.8%) or graduate degree (33.1%). The adolescents and young
                                           adults (AYAs) described by their parents were predominantly female sex at birth (82.8%) with
                                           an average current age of 16.4 years (range, 11–27 years). See Table 2.


                                           Procedure
                                           A 90-question survey instrument with multiple choice, Likert-type, and open-ended questions
                                           was created by the researcher. The survey was designed for parents (respondents) to complete
                                           about their adolescent and young adult children. The survey was uploaded onto Survey Mon-
                                           key (SurveyMonkey, Palo Alto, CA, USA) via an account that was HIPPA-enabled. IRB
                                           approval for the study from the Icahn School of Medicine at Mount Sinai in New York, NY
                                           was received. Recruitment information with a link to the survey was placed on three websites
                                           where parents and professionals had been observed to describe what seemed to be a sudden or
                                           rapid onset of gender dysphoria (4thwavenow, transgender trend, and youthtranscriticalpro-
                                           fessionals), although the specific terminology “rapid onset gender dysphoria” did not appear
                                           on these websites until the recruitment information using that term was first posted on the
                                           sites. Website moderators and potential participants were encouraged to share the recruitment
                                           information and link to the survey with any individuals or communities that they thought
                                           might include eligible participants to expand the reach of the project through snowball sam-
                                           pling techniques. The survey was active from June 29, 2016 to October 12, 2016 (3.5 months)



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                                           Table 1. Demographic and other baseline characteristics of parent respondents.
                                           Characteristics of Parent-respondents                                                               n        %
                                               Sex                                                                                           254
                                                                                                                    Female                   233      91.7
                                                                                                                    Male                      21       8.3
                                               Age (y)                                                                                       254
                                                                                                                    18–29                      3       1.2
                                                                                                                    30–44                     74      29.1
                                                                                                                    45–60                    168      66.1
                                                                                                                    >60                        9       3.5
                                           Race/Ethnicity�                                                                                   255
                                                                                                                    White                    233      91.4
                                                                                                                    Other��                   22       8.6
                                           Country of Residence                                                                              254
                                                                                                                    US                       182      71.7
                                                                                                                    UK                        39      15.4
                                                                                                                    Canada                    17       6.7
                                                                                                                    Other                     16       6.3
                                           Education                                                                                         254
                                                                                                                    Bachelor’s degree         96      37.8
                                                                                                                    Graduate degree           84      33.1
                                                                                                                    Some college or           63      24.8
                                                                                                                    Associates degree
                                                                                                                    HS grad or GED            10       3.9
                                                                                                                    <High School               1       0.4
                                           Parent attitude on allowing gay and lesbian couples to marry legally                              256
                                                                                                                    Favor                    220      85.9
                                                                                                                    Oppose                    19       7.4
                                                                                                                    Don’t know                17       6.6
                                           Parent belief that transgender people deserve the same                                            255
                                           rights and protections as others
                                                                                                                    Yes                      225      88.2
                                                                                                                    No                         8       3.1
                                                                                                                    Don’t know                20       7.8
                                                                                                                    Other                      2       0.8
                                           �
                                               may select more than one answer.
                                           ��
                                                declining order includes: Other, Multiracial, Asian, Hispanic.

                                           https://doi.org/10.1371/journal.pone.0202330.t001


                                           and took 30–60 minutes to complete. Participants completed the survey at a time and place of
                                           their own choosing. Data were collected anonymously and stored securely with Survey
                                           Monkey.
                                              Participation in this study was voluntary and its purpose was clearly described in the
                                           recruitment information. Electronic consent was obtained. Participants had the option to
                                           withdraw consent at any time prior to submitting responses. Inclusion criteria were (1) com-
                                           pletion of a survey with parental response that the child had a sudden or rapid onset of gender
                                           dysphoria; and (2) parental indication that the child’s gender dysphoria began during or after
                                           puberty. There was logic embedded in the survey that disqualified surveys that answered “no”
                                           (or skipped the question) about whether the child had a sudden or rapid onset of gender dys-
                                           phoria and 23 surveys were disqualified prior to completion (20 “no” answers and 3 skipped



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                                           Table 2. Demographic and other baseline characteristics of AYAs.
                                           Characteristics of AYAs                                                                               n      %
                                           AYA sex at birth (natal sex)                                                                       256
                                                                                           Female                                             212     82.8
                                                                                           Male                                                44     17.2
                                           AYA average current age (range of ages)         16.4 (11–27)                                       256
                                           Academic diagnoses                                                                                 253
                                                                                           Gifted                                             120     47.4
                                                                                           Learning Disability                                 11      4.3
                                                                                           Both                                                27     10.7
                                                                                           Neither                                             95     37.5
                                           Natal female expressed sexual orientation                                                          212
                                           before announcement�
                                                                                           Asexual                                             18      8.5
                                                                                           Bisexual or Pansexual                               78     36.8
                                                                                           Gay or Lesbian                                      58     27.4
                                                                                           Straight (Heterosexual)                             75     35.4
                                                                                           Did not express                                     57     26.9
                                           Natal male expressed sexual orientation                                                             44
                                           before announcement�
                                                                                           Asexual                                               4     9.1
                                                                                           Bisexual or Pansexual                                 5    11.4
                                                                                           Gay                                                   5    11.4
                                                                                           Straight (Heterosexual)                             25     56.8
                                                                                           Did not express                                     11     25.0
                                           Gender dysphoria began                                                                             256
                                                                                           During puberty                                     125     48.8
                                                                                           After puberty                                      131     51.2
                                           Along with a rapid onset of GD,                                                                    256
                                           the AYA also:
                                                                                           Belonged to a friend group where one or multiple    55     21.5
                                                                                           friends became transgender-identified during
                                                                                           a similar timeframe
                                                                                           Had an increase in social media/internet use        51     19.9
                                                                                           Both of the above                                  116     45.3
                                                                                           Neither                                             13      5.1
                                                                                           Don’t know                                          21      8.2
                                           �
                                               may select more than one answer.

                                           https://doi.org/10.1371/journal.pone.0202330.t002


                                           answers). After cleaning the data for the 274 completed surveys, 8 surveys were excluded for
                                           not having a sudden or rapid onset of gender dysphoria and 10 surveys were excluded for not
                                           having gender dysphoria that began during or after puberty, which left 256 completed surveys
                                           for inclusion. As the survey was voluntary there was no refusal or dropout rate.


                                           Recruitment sites
                                           There were four sites known to post recruitment information about the research study. The
                                           first three were posted due to direct communication with the moderators of the sites. The
                                           fourth site posted recruitment information secondary to the snowball sampling technique. The
                                           following descriptions provide details about these sites.



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                                           4thwavenow
                                           4thwavenow was created in 2015. The site, as seen in digitally archived screenshots from 2015
                                           and 2016, stated that it is a “safe place for gender-skeptical parents and their allies”, offered
                                           support for parents, and expressed concern about the rush to diagnose young people as trans-
                                           gender and the rush to proceed to medical treatment for them [2, 48]. By June 2016, the site
                                           had expanded to include the writing of several parents, “formerly trans-identified people, and
                                           people with professional expertise and experience with young people questioning their gender
                                           identity” [9]. The perspective of this site might be described as cautious about medical and sur-
                                           gical transition overall—specifically with a cautious or negative view of medical and surgical
                                           interventions for children, adolescents, and young adults and an accepting view that mature
                                           adults can make their own decisions about transition [2, 9].

                                           Transgendertrend
                                           Transgendertrend was founded in November 2015. The digitally archived screenshots from
                                           November 2015 and July 2016 “Who Are We?” section include the following description, “We
                                           are an international group of parents based mainly in the UK, US and Canada, who are con-
                                           cerned about the current trend to diagnose ‘gender non-conforming’ children as transgender.
                                           We reject current conservative, reactionary, religious-fundamentalist views about sexuality.
                                           We come from diverse backgrounds, some with expertise in child development and psychol-
                                           ogy, some who were themselves extreme gender non-conforming children and adolescents,
                                           some whose own children have self-diagnosed as ‘trans’ and some who know supportive trans
                                           adults who are also questioning recent theories of ‘transgenderism’” [49]. In July of 2016, there
                                           was additional text added, expressing concern about legislation regarding public bathrooms
                                           and changing rooms [50].

                                           Youth trans critical professionals
                                           Youth Trans Critical Professionals was created in March 2016. The digitally archived screen-
                                           shot from the April 2016 “About” section stated the following: “This website is a community of
                                           professionals “thinking critically about the youth transgender movement. We are psycholo-
                                           gists, social workers, doctors, medical ethicists, and academics. We tend to be left-leaning,
                                           open-minded, and pro-gay rights. However, we are concerned about the current trend to
                                           quickly diagnose and affirm young people as transgender, often setting them down a path
                                           toward medical transition. Our concern is with medical transition for children and youth. We
                                           feel that unnecessary surgeries and/or hormonal treatments which have not been proven safe
                                           in the long-term represent significant risks for young people” [51].

                                           Parents of transgender children
                                           Parents of Transgender Children is a private Facebook group with more than 8,000 members
                                           [52]. The current “About” section states that requests to join the group “will be denied if you
                                           are not the parent (or immediate caregiver or family member) of a transgender, gender-fluid,
                                           gender-questioning, agender, or other gender-nonconforming child (of any age); or if you are
                                           uncooperative during screening” and that the “group is comprised of parents and parenting
                                           figures, as well as a select group of advocates INVITED by the admin[istrative] staff to assist &
                                           help us with understanding legal and other concerns” [52]. Although the parent discussions
                                           and comments are not viewable to non-members [52], this group is perceived to be pro -gen-
                                           der-affirming. The Parents of Transgender Children Facebook group is considered to be a site
                                           to find parents who are supportive of their child’s gender identity [53], and it is listed as a



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                                           resource in a gender affirming parenting guide [54] and by gender affirming organizations
                                           [55–56].

                                           Measures
                                           Basic demographic and baseline characteristics
                                           Basic demographic and baseline characteristic questions, including parental attitudes about
                                           LGBT rights, were included. Parents were asked about their children’s mental health disorders
                                           and neurodevelopmental disabilities that were diagnosed before their child’s onset of gender
                                           dysphoria as well as during and after. The question, “Has your child been formally identified
                                           as academically gifted, learning disabled, both, neither?” was used as a proxy to estimate rates
                                           of academic giftedness and learning disabilities. Questions about trauma and non-suicidal self-
                                           injury were also included as were questions about social difficulties described in a previous
                                           research study about gender dysphoric adolescents [13].

                                           DSM-5 diagnostic criteria for gender dysphoria in children
                                           The DSM 5 criteria for gender dysphoria in children consist of eight indicators of gender dys-
                                           phoria [57]. To meet criteria for diagnosis, a child must manifest at least six out of eight indica-
                                           tors including the one designated A1, “A strong desire to be the other gender or an insistence
                                           that one is the other gender (or some alternative gender different from one’s assigned gen-
                                           der).” Three of the indicators (A1, A7, and A8) refer to desires or dislikes of the child. Five of
                                           the indicators (A2-A6) are readily observable behaviors and preferences such as a strong pref-
                                           erence or strong resistance to wearing certain kinds of clothing; a strong preference or strong
                                           rejection of specific toys, games and activities; and a strong preference for playmates of the
                                           other gender [57]. The eight indicators were simplified for language and parents were asked to
                                           note which, if any, their child had exhibited prior to puberty. The requirement of six-month
                                           duration of symptoms was not included.

                                           DSM-5 diagnostic criteria for gender dysphoria in adolescents and adults
                                           The DSM-5 criteria for gender dysphoria in adolescents and adults consist of six indicators of
                                           gender dysphoria [57]. To meet criteria for diagnosis, an adolescent or adult must manifest at
                                           least two of the six indicators. The six indicators were simplified for language, the first indica-
                                           tor was adjusted for a parent to answer about their child, and parents were asked to note
                                           which, if any, their child was expressing currently. The requirement of six-month duration of
                                           symptoms was not included.

                                           Exposure to friend groups and social media/internet content
                                           Survey questions were developed to describe AYA friend groups, including number of friends
                                           that became transgender-identified in a similar time period as the AYA, peer group dynamics
                                           and behaviors, and exposure to specific types of social media/internet content and messages
                                           that have been observed on sites popular with teens, such as Reddit and Tumblr.

                                           Behaviors, outcomes, clinical interactions
                                           Survey questions were developed to specifically quantify adolescent behaviors that had been
                                           described by parents in online discussions and observed elsewhere. Participants were asked to
                                           describe outcomes such as their child’s mental well-being and parent-child relationship since
                                           becoming transgender-identified. Parents were also asked about experiences with clinicians
                                           and their children’s disposition regarding steps taken for transition and duration of



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                                           transgender-identification both for children who were still transgender-identified and for chil-
                                           dren who were no longer transgender-identified.

                                           Coping with strong or negative emotions
                                           Two questions about the AYAs’ ability to cope with negative and strong emotions were
                                           included. One question was “How does your child handle strong emotions? (please select the
                                           best answer).” Offered answers were “My child is overwhelmed by strong emotions and goes
                                           to great lengths to avoid feeling them,” “My child is overwhelmed by strong emotions and tries
                                           to avoid feeling them,” “My child neither avoids not seeks out strong emotions,” “My child
                                           tries to seek out situations in order to feel strong emotions,” “My child goes to great lengths to
                                           seek out situations in order to feel strong emotions,” “None of the above,” “I don’t know.” The
                                           other question was “How would you rate your child’s ability to deal with their negative emo-
                                           tions and channel them into something productive?” An example was given regarding dealing
                                           with a low test grade by studying harder for the next test (excellent) or by ignoring it, throwing
                                           a tantrum, blaming the teacher or distracting themselves with computer games, alcohol, drugs,
                                           etc. (extremely poor). Offered answers were: excellent, good, fair, poor, extremely poor, and I
                                           don’t know.

                                           Data analysis
                                           Statistical analyses of quantitative data were performed using Excel and custom shell scripts
                                           (Unix). Quantitative findings are presented as frequencies, percentages, ranges, means and/or
                                           medians. ANOVAs, chi-squared, and t-tests comparisons were used where appropriate using
                                           publicly available calculators and p<0.05 was considered significant. Qualitative data were
                                           obtained from open text answers to questions that allowed participants to provide additional
                                           information or comments. The types of comments and descriptions were categorized, tallied,
                                           and reported numerically. A grounded theory approach was selected as the analytic strategy of
                                           choice for handling the qualitative responses because it allowed the researcher to assemble the
                                           data in accordance with the salient points the respondents were making without forcing the
                                           data into a preconceived theoretical framework of the researcher’s own choosing [58]. Illustra-
                                           tive respondent quotes and summaries from the qualitative data are used to illustrate the quan-
                                           titative results and to provide relevant examples. Two questions were targeted for full
                                           qualitative analysis of themes (one question on friend group behaviors and one on clinician
                                           interactions). For these questions, a second reviewer with expertise in qualitative methods was
                                           engaged (MM). Both the author (LL) and reviewer (MM) independently analyzed the content
                                           of the open text answers and identified major themes. Discrepancies were resolved with collab-
                                           orative discussion and themes were explored and refined until agreement was reached for the
                                           final lists of themes. Representative quotes for each theme were selected by LL, reviewed by
                                           MM, and agreement was reached.

                                           Results
                                           Baseline characteristics
                                           Baseline characteristics (Table 1) included that the vast majority of parents favored gay and les-
                                           bian couples’ right to legally marry (85.9%) and believed that transgender individuals deserve
                                           the same rights and protections as other individuals in their country (88.2%). Along with the
                                           sudden or rapid onset of gender dysphoria, the AYAs belonged to a friend group where one or
                                           multiple friends became gender dysphoric and came out as transgender during a similar time
                                           as they did (21.5%), exhibited an increase in their social media/internet use (19.9%), both



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                                           (45.3%), neither (5.1%), and don’t know (8.2%) (Table 2). For comparisons, the first three cate-
                                           gories will be combined and called “social influence” (86.7%) and the last two combined as “no
                                           social influence” (13.3%). Nearly half (47.4%) of the AYAs had been formally diagnosed as aca-
                                           demically gifted, 4.3% had a learning disability, 10.7% were both gifted and learning disabled,
                                           and 37.5% were neither. Sexual orientation as expressed by the AYA prior to transgender-
                                           identification is listed separately for natal females and for natal males (Table 2). Overall, 41%
                                           of the AYAs expressed a non-heterosexual sexual orientation prior to disclosing a transgen-
                                           der-identification.
                                               It is important to note that none of the AYAs described in this study would have met diag-
                                           nostic criteria for gender dysphoria in childhood (Table 3). In fact, the vast majority (80.4%)
                                           had zero indicators from the DSM-5 diagnostic criteria for childhood gender dysphoria with
                                           12.2% possessing one indicator, 3.5% with two indicators, and 2.4% with three indicators.
                                           Breaking down these results, for readily observable indicators (A2-6), 83.5% of AYAs had zero
                                           indicators, 10.2% had one indicator, 3.9% had two indicators, and 1.2% had three indicators.
                                           For the desire/dislike indicators (A1, A7, A8), which a parent would have knowledge of if the
                                           child expressed them verbally, but might be unaware if a child did not, 95.7% had zero indica-
                                           tors and 3.5% had one indicator. Parents responded to the question about which, if any, of the
                                           indicators of the DSM criteria for adolescent and adult gender dysphoria their child was


                                           Table 3. DSM 5 Indicators for gender dysphoria.
                                           Characteristics                                                                                    n         %
                                           AYAs who would have met diagnostic criteria for                                                    0          0
                                           gender dysphoria in childhood
                                           Number of DSM 5 indicators for                                                                   255
                                           gender dysphoria in children exhibited prior to puberty
                                                                                                                  Zero indicators           205       80.4
                                                                                                                  One indicator              31       12.2
                                                                                                                  Two indicators              9        3.5
                                                                                                                  Three indicators            6        2.4
                                                                                                                  Four indicators             3        1.2
                                           Desire/Dislike Indicators (A1, A7, or A8)                                                        255
                                                                                                                  Zero indicators           244       95.7
                                                                                                                  One indicators              9        3.5
                                                                                                                  Two indicators              0          0
                                                                                                                  Three indicators            1        0.4
                                           Readily observable indicators (A2-A6)                                                            254
                                                                                                                  Zero indicators           212       83.5
                                                                                                                  One indicator              26       10.2
                                                                                                                  Two indicators             10        3.9
                                                                                                                  Three indicators            3        1.2
                                                                                                                  Four indicators             3        1.2
                                           Average number of DSM 5 indicators for adolescent and adult
                                           gender dysphoria that the AYA is experiencing currently (range)
                                                                                                                  3.5 (range 0–6)           247
                                           AYAs currently experiencing two or more indicators of gender                                     250
                                           dysphoria for adolescents and adults
                                                                                                                  Yes                       208       83.2
                                                                                                                  No                         40       16.0
                                                                                                                  Don’t know                  2        0.8
                                           https://doi.org/10.1371/journal.pone.0202330.t003




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                                           experiencing currently. The average number of positive current indicators was 3.5 (range 0–6)
                                           and 83.2% of the AYA sample was currently experiencing two or more indicators. Thus, while
                                           the focal AYAs did not experience childhood gender dysphoria, the majority of those who
                                           were the focus of this study were indeed gender dysphoric at the time of the survey
                                           completion.
                                               The AYAs who were the focus of this study had many comorbidities and vulnerabilities pre-
                                           dating the onset of their gender dysphoria, including psychiatric disorders, neurodevelopmen-
                                           tal disabilities, trauma, non-suicidal self-injury (NSSI), and difficulties coping with strong or
                                           negative emotions (Table 4). The majority (62.5%) of AYAs had one or more diagnoses of a
                                           psychiatric disorder or neurodevelopmental disability preceding the onset of gender dysphoria
                                           (range of the number of pre-existing diagnoses 0–7). Many (48.4%) had experienced a trau-
                                           matic or stressful event prior to the onset of their gender dysphoria. Open text descriptions of
                                           trauma were categorized as “family” (including parental divorce, death of a parent, mental dis-
                                           order in a sibling or parent), “sex or gender related” (such as rape, attempted rape, sexual
                                           harassment, abusive dating relationship, break-up), “social” (such as bullying, social isolation),
                                           “moving” (family relocation or change of schools); “psychiatric” (such as psychiatric hospitali-
                                           zation), and medical (such as serious illness or medical hospitalization). Almost half (45.0%) of
                                           AYAs were engaging in non-suicidal self-injury (NSSI) behavior before the onset of gender
                                           dysphoria. Coping styles for these AYAs included having a poor or extremely poor ability to
                                           handle negative emotions productively (58.0%) and being overwhelmed by strong emotions
                                           and trying to avoid (or go to great lengths to avoid) experiencing them (61.4%) (Table 4). The
                                           majority of respondents (69.4%) answered that their child had social anxiety during adoles-
                                           cence; 44.3% that their child had difficulty interacting with their peers, and 43.1% that their
                                           child had a history of being isolated (not associating with their peers outside of school
                                           activities).


                                           Announcing a transgender-identification
                                           At the time the AYA announced they were transgender-identified (“came out”), most were liv-
                                           ing at home with one or both parents (88.3%) and a small number were living at college
                                           (6.2%). The average age of announcement of a transgender-identification was 15.2 years of age
                                           (range 10–21) (Table 5). Most of the parents (80.9%) answered affirmatively that their child’s
                                           announcement of being transgender came “out of the blue without significant prior evidence
                                           of gender dysphoria.” Respondents were asked to pinpoint a time when their child seemed not
                                           at all gender dysphoric and to estimate the length of time between that point and their child’s
                                           announcement of a transgender-identity. Almost a third of respondents (32.4%) noted that
                                           their child did not seem gender dysphoric when they made their announcement and 26.0%
                                           said the length of time from not seeming gender dysphoric to announcing a transgender iden-
                                           tity was between less than a week to three months. The most striking examples of “not seeming
                                           at all gender dysphoric” prior to making the announcement included a daughter who loved
                                           summers and seemed to love how she looked in a bikini, another daughter who happily wore
                                           bikinis and makeup, and another daughter who previously said, “I love my body!”
                                               The majority of respondents (69.2%) believed that their child was using language that they
                                           found online when they “came out.” A total of 130 participants provided optional open text
                                           responses to this question, and responses fell into the following categories: why they thought
                                           the child was using language they found online (51); description of what the child said but
                                           didn’t provide a reason that they suspected the child was using language they found online
                                           (61); something else about the conversation (8) or the child (7) and don’t know (3). Of the 51
                                           responses describing reasons why respondents thought their child was reproducing language



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Table 4. AYA baseline comorbidities and vulnerabilities predating the onset of gender dysphoria.
Characteristics                                                                                                                                    n        %
Mental disorder or neurodevelopmental disability                                                                                                251
diagnosed prior to the onset of gender dysphoria�
                                                                           Anxiety                                                              117       46.6
                                                                           Depression                                                            99       39.4
                                                                           Attention Deficit Hyperactivity Disorder (ADHD)                       29       11.6
                                                                           Obsessive Compulsive Disorder (OCD)                                   21        8.4
                                                                           Autism Spectrum Disorder (ASD)                                        20        8.0
                                                                           Eating Disorder                                                       12        4.8
                                                                           Bipolar Disorder                                                       8        3.2
                                                                           Psychosis                                                              6        2.4
                                                                           None of above                                                         94       37.5
                                                                           (Other) Borderline                                                     3        1.2
                                                                           (Other) Oppositional Defiant Disorder                                  2        0.8
Traumatic or stressful experience prior to the onset of gender dysphoria                                                                        252
                                                                           Yes                                                                  122       48.4
                                                                           No                                                                    91       36.1
                                                                           Don’t know                                                            38       15.1
                                                                           Other                                                                  1        0.4
Types of trauma�                                                                                                                                113
                                                                           Family                                                                50       44.2
                                                                           Sex/Gender related                                                    34       30.1
                                                                           Social                                                                23       20.4
                                                                           Moving                                                                20       17.7
                                                                           Psychiatric                                                            9        8.0
                                                                           Medical                                                                7        6.2
Non-suicidal self-injury (NSSI) before the onset of gender dysphoria                                                                            180
                                                                                                                                                 81       45.0
Ability to handle negative emotions productively                                                                                                255
                                                                           Excellent/Good                                                        34       13.3
                                                                           Fair                                                                  70       27.5
                                                                           Poor/Extremely Poor                                                  148       58.0
                                                                           Don’t know                                                             3        1.2
Coping style for dealing with strong emotions                                                                                                   254
                                                                           Overwhelmed by strong emotions and tries to /goes to great           156       61.4
                                                                           lengths to avoid feeling them
                                                                           Neither avoids nor seeks out strong emotions                          29       11.4
                                                                           Tries to/goes to great lengths to seeks out strong emotions           33       13.0
                                                                           Don’t know                                                            25        9.8
                                                                           None of the above                                                     11        4.3
Social vulnerabilities                                                                                                                          255
                                                                           During adolescence child had social anxiety                          177       69.4
                                                                           Child had difficulty interacting with their peers                    113       44.3
                                                                           History of being isolated (not interacting with peers outside        110       43.1
                                                                           of school activities)
                                                                           Child felt excluded by peers throughout most of grade school          93       36.5
                                                                           Child had persistent experiences of being bullied before the          74       29.0
                                                                           onset of gender dysphoria
�
    may select more than one answer.

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Table 5. Announcing a transgender-identification.
Characteristics                                                                                                                                    n            %
Age of AYA when the AYA announced a                                     15.2 average (10–21)                                                    255
transgender-identification (range)
Living arrangement at announcement                                                                                                              256
                                                                        Living at home with one or both parents                                 226           88.3
                                                                        Living at college or university                                           16           6.2
                                                                        Other                                                                     14           5.5
AYA’s announcement came from “out of the blue, without                                                                                          256
significant prior evidence of gender dysphoria”
                                                                        Yes                                                                     207           80.9
                                                                        No                                                                        33          12.9
                                                                        Other                                                                     16           6.2
If a time was pinpointed when the child seemed                                                                                                  250
not at all gender dysphoric, how long between that time and
the child’s announcement of a transgender-identity?
                                                                        Did not seem at all gender dysphoric when they                            81          32.4
                                                                        announced and transgender-identity
                                                                        Less than a week to 3 months                                              65          26.0
                                                                        4–6 months                                                                31          12.4
                                                                        7–9 months                                                                10           4.0
                                                                        10–12 months                                                              29          11.6
                                                                        More than 12 months                                                       20           8.0
                                                                        Don’t know                                                                14           5.6
Parent suspects that when the child first announced a                                                                                           253
transgender-identity, that the child used language
that they found online
                                                                        Yes                                                                     175           69.2
                                                                        No                                                                        53          20.9
                                                                        N/A                                                                       25           9.9
Parent thinks their child is correct in their child’s belief of being                                                                           255
transgender
                                                                        Yes                                                                        6           2.4
                                                                        No                                                                      195           76.5
                                                                        Don’t know                                                                38          14.9
                                                                        Other                                                                     16           6.3
How soon after the announcement did the AYA ask for                                                                                             255
transition?
                                                                        At the same time                                                          86          33.7
                                                                        Between less than one week to one month                                   33          12.9
                                                                        2–5 months after announcement                                             26          10.2
                                                                        6 or more months after announcement                                       19           7.5
                                                                        Other                                                                     16           6.3
                                                                        N/A                                                                       75          29.4
Intention and request for transition�                                                                                                           189
                                                                        AYA told the parent that they want cross-sex hormones                   127           67.2
                                                                        AYA told the parent that they want to go to a gender                    111           58.7
                                                                        therapist/gender clinic
                                                                        AYA told the parent that they want surgery                              101           53.4
                                                                        AYA brought up the issue of suicides in transgender teens as              59          31.2
                                                                        a reason that their parent should agree to treatment
                                                                                                                                                       (Continued )




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Table 5. (Continued)

Characteristics                                                                                                                             n          %
AYA has very high expectation that transitioning                                                                                         256
will solve their problems in social, academic,
occupational, or mental health areas
                                                                      Yes                                                                143         55.9
                                                                      No                                                                   13         5.1
                                                                      Don’t know                                                         100         39.1
AYA was willing to work on basic mental health before                                                                                    253
seeking gender treatments
                                                                      Yes                                                                111         43.9
                                                                      No                                                                   71        28.1
                                                                      Don’t know                                                           30        11.9
                                                                      N/A                                                                  41        16.2
�
    may select more than one answer.

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                                                    they found online, the top two reasons were that it didn’t sound like their child’s voice (19
                                                    respondents) and that the parent later looked online and recognized the same words and
                                                    phrases that their child used when they announced a transgender identity (14 respondents).
                                                    The observation that it didn’t sound like their child’s voice was also expressed as “sounding
                                                    scripted,” like their child was “reading from a script,” “wooden,” “like a form letter,” and that it
                                                    didn’t sound like their child’s words. Parents described finding the words their child said to
                                                    them “verbatim,” “word for word,” “practically copy and paste,” and “identical” in online and
                                                    other sources. The following quotes capture these top two observations. One parent said, “It
                                                    seemed different from the way she usually talked—I remember thinking it was like hearing
                                                    someone who had memorized a lot of definitions for a vocabulary test.” Another respondent
                                                    said, “The email [my child sent to me] read like all of the narratives posted online almost word
                                                    for word.”
                                                       The following case summaries were selected to illustrate peer, trauma, and psychiatric con-
                                                    texts that might indicate more complicated clinical pictures.
                                                    • A 12-year-old natal female was bullied specifically for going through early puberty and the
                                                      responding parent wrote “as a result she said she felt fat and hated her breasts.” She learned
                                                      online that hating your breasts is a sign of being transgender. She edited her diary (by cross-
                                                      ing out existing text and writing in new text) to make it appear that she has always felt that
                                                      she is transgender.
                                                    • A 14-year-old natal female and three of her natal female friends were taking group lessons
                                                      together with a very popular coach. The coach came out as transgender, and, within one
                                                      year, all four students announced they were also transgender.
                                                    • A natal female was traumatized by a rape when she was 16 years of age. Before the rape, she
                                                      was described as a happy girl; after the rape, she became withdrawn and fearful. Several
                                                      months after the rape, she announced that she was transgender and told her parents that she
                                                      needed to transition.
                                                    • A 21-year-old natal male who had been academically successful at a prestigious university
                                                      seemed depressed for about six months. Since concluding that he was transgender, he went
                                                      on to have a marked decline in his social functioning and has become increasingly angry and




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                                             hostile to his family. He refuses to move out or look for a job. His entire family, including
                                             several members who are very supportive of the transgender community, believe that he is
                                             “suffering from a mental disorder which has nothing to do with gender.”
                                           • A 14-year-old natal female and three of her natal female friends are part of a larger friend
                                             group that spends much of their time talking about gender and sexuality. The three natal
                                             female friends all announced they were trans boys and chose similar masculine names. After
                                             spending time with these three friends, the 14-year-old natal female announced that she was
                                             also a trans boy.
                                              The majority (76.5%) of the surveyed parents felt that their child was incorrect in their belief
                                           of being transgender (Table 5). More than a third (33.7%) of the AYAs asked for medical and/
                                           or surgical transition at the same time that they announced they were transgender-identified.
                                           Two thirds (67.2%) of the AYAs told their parent that they wanted to take cross-sex hormones;
                                           58.7% that they wanted to see a gender therapist/gender clinic; and 53.4% that they wanted sur-
                                           gery for transition. Almost a third (31.2%) of AYAs brought up the issue of suicides in transgen-
                                           der teens as a reason that their parent should agree to treatment. More than half of the AYAs
                                           (55.9%) had very high expectations that transitioning would solve their problems in social, aca-
                                           demic, occupational or mental health areas. While 43.9% of AYAs were willing to work on basic
                                           mental health before seeking gender treatments, a sizable minority (28.1%) were not willing to
                                           work on their basic mental health before seeking gender treatment. At least two parents relayed
                                           that their child discontinued psychiatric care and medications for pre-existing mental health
                                           conditions once they identified as transgender. One parent, in response to the question about if
                                           their child had very high expectations that transitioning would solve their problems elaborated,
                                           “Very much so. [She] discontinued anti-depressant quickly, stopped seeing psychiatrist, began
                                           seeing gender therapist, stopped healthy eating. [She] stated ‘none of it’ (minding what she ate
                                           and taking her Rx) ‘mattered anymore.’ This was her cure, in her opinion.”


                                           Friend-group exposure
                                           The adolescent and young adult children were, on average, 14.4 years old when their first
                                           friend became transgender-identified (Table 6). Within friendship groups, the average number
                                           of individuals who became transgender-identified was 3.5 per group. In 36.8% of the friend
                                           groups described, the majority of individuals in the group became transgender-identified. The
                                           order that the focal AYA “came out” compared to the rest of their friendship group was calcu-
                                           lated from the 119 participants who provided the number of friends coming out both before
                                           and after their child and 74.8% of the AYAs were first, second or third of their group. Parents
                                           described intense group dynamics where friend groups praised and supported people who
                                           were transgender-identified and ridiculed and maligned non-transgender people. Where pop-
                                           ularity status and activities were known, 60.7% of the AYAs experienced an increased popular-
                                           ity within their friend group when they announced a transgender-identification and 60.0% of
                                           the friend groups were known to mock people who were not transgender or LGBTIA (lesbian,
                                           gay, bisexual, transgender, intersex, or asexual).
                                               For the question about popularity changes when the child came out as having a transgen-
                                           der-identification, 79 participants provided optional open text responses which were catego-
                                           rized as: descriptions of the responses the child received (39); descriptions of the friends (14);
                                           description that the child did not “come out” to friends (8); not sure (9); speculation on how
                                           the child felt from the response (4), other (5). Of the 39 descriptions of responses, 19 of these
                                           responses referred to positive benefits the child received after coming out including positive
                                           attention, compliments, increased status, increased popularity, increased numbers of online



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                                           Table 6. Friend group exposure.
                                           Characteristics                                                                                      n       %
                                           The AYA has been part of a friend group where                                                      254
                                           one or more friends has come out as transgender
                                           around a similar timeframe as they did
                                                                                                         Yes                                  176     69.3
                                                                                                         No                                    47     18.5
                                                                                                         Don’t know                            31     12.2
                                           Age of AYA when their first friend became                     14.4 average (11–21)                 174
                                           transgender-identified (range)
                                           Number of friends from the friendship group who               3.5 average (2–10)                   138
                                           became gender dysphoric average (range)
                                           Where numbers known, friend groups where                                                           125
                                           the MAJORITY of the friends in the friendship group
                                           became transgender-identified
                                                                                                         Yes                                   46     36.8
                                                                                                         No                                    79     63.2
                                           Order of the AYAs “coming out” compared to the others                                              119
                                           in the friendship group
                                                                                                         First in the friendship group          4      3.4
                                                                                                         Second in the friendship group        52     43.7
                                                                                                         Third in the friendship group         33     27.7
                                                                                                         Fourth in the friendship group        18     15.1
                                                                                                         Fifth in the friendship group          5      4.2
                                                                                                         Sixth or Seventh in the friendship     6      5.0
                                                                                                         group
                                           Where popularity status known, change in popularity                                                178
                                           within friend group when AYA announced their
                                           transgender-identification
                                                                                                         Increased popularity                 108     60.7
                                                                                                         Decreased popularity                  11      6.2
                                                                                                         Unchanged popularity                  59     33.1
                                           Where friend group activities known, friend group                                                  145
                                           known to mock people who are not transgender/LGBT
                                                                                                         Yes                                   87     60.0
                                                                                                         No                                    58     40.0
                                           https://doi.org/10.1371/journal.pone.0202330.t006


                                           followers, and improved protection from ongoing bullying. The following are quotes from
                                           parents about the perceived benefits of transgender-identification afforded to their child. One
                                           respondent said, “Great increase in popularity among the student body at large. Being trans is
                                           a gold star in the eyes of other teens.” Another respondent explained, “not so much ‘popularity’
                                           increasing as ‘status’. . .also she became untouchable in terms of bullying in school as teachers
                                           who ignored homophobic bullying . . .are now all at pains to be hot on the heels of any trans
                                           bullying.” Seven respondents described a mixed response where the child’s popularity
                                           increased with some friends and decreased with others. Seven respondents described a neutral
                                           response such as “All of the friends seemed extremely accepting.” Two described a temporary
                                           increase in their child’s popularity: “There was an immediate rush of support when he came
                                           out. Those same friends have dwindled to nothing as he rarely speaks to any of them now.”
                                           Another described the loss of friends. And two parents described that “coming out” prevented
                                           the loss of friends explained by one respondent as “to not be trans one would not have been
                                           included in his group.”




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                                                Several AYAs expressed significant concern about the potential repercussions from their
                                           friend group when they concluded that they were not transgender after all. There were two
                                           unrelated cases with similar trajectories where the AYAs spent some significant time in a dif-
                                           ferent setting, away from their usual friend group, without access to the internet. Parents
                                           described that these AYAs made new friendships, became romantically involved with another
                                           person, and during their time away concluded that they were not transgender. In both cases,
                                           the adolescents, rather than face their school friends, asked to move and transfer to different
                                           high schools. One parent said that their child, “. . .couldn’t face the stigma of going back to
                                           school and being branded as a fake or phony. . . . Or worse, a traitor or some kind of
                                           betrayer. . .[and] asked us if we could move.” In the other case, the parent relayed that their
                                           child thought none of the original friends would understand and expressed a strong desire to
                                           “. . .get out of the culture that ‘if you are cis, then you are bad or oppressive or clueless.’” Both
                                           families were able to relocate and both respondents reported that their teens have thrived in
                                           their new environments and new schools. One respondent described that their child expressed
                                           relief that medical transition was never started and felt there would have been pressure to
                                           move forward had the family not moved away from the peer group.


                                           Qualitative analysis
                                           The open-ended responses from the question about whether the AYAs and friends mocked,
                                           teased, or made fun of individuals who weren’t transgender or LGBTIA was selected for addi-
                                           tional qualitative analysis. Seven major themes were identified from the comments provided
                                           by participants and are described, with representative supporting quotes.
                                               Theme: Groups targeted. The groups targeted for mocking by the friend groups are often
                                           heterosexual (straight) people and non-transgender people (called “cis” or “cisgender”). Some-
                                           times animosity was also directed towards males, white people, gay and lesbian (non-transgen-
                                           der) people, aromantic and asexual people, and “terfs”. One participant explained, “They are
                                           constantly putting down straight, white people for being privileged, dumb and boring.”
                                           Another participant elaborated, “In general, cis-gendered people are considered evil and
                                           unsupportive, regardless of their actual views on the topic. To be heterosexual, comfortable
                                           with the gender you were assigned at birth, and non-minority places you in the ‘most evil’ of
                                           categories with this group of friends. Statement of opinions by the evil cis-gendered population
                                           are consider phobic and discriminatory and are generally discounted as unenlightened.”
                                               Theme: Individuals targeted. In addition to targeting specific groups of people for mock-
                                           ing, the AYAs and their friend groups also directed mocking towards individuals in the AYAs’
                                           lives such as parents, grandparents, siblings, peers, allies, and teachers. The following quotes
                                           describe individuals targeted. One participant said, “They call kids who are not LGBT dumb
                                           and cis. And the mocking has been aimed at my transgender-identified child’s [sibling].”
                                           Another parent said, “They definitely made fun of parents and teachers who did not agree
                                           with them.” And a third participant said, “. . .they were asked to leave [a school-based LGBT
                                           club] because they were not queer enough [as straight and bisexual allies]. [One of them] was
                                           [then] bullied, harassed and denounced online.”
                                               Theme: Behaviors occurred both in person and in online settings. Parents observed the
                                           behaviors both in-person and in online settings, and specifically mentioned seeing posts and
                                           conversations on Tumblr, Twitter, Facebook, and Instagram. On participant said, “They speak
                                           with derision about how cis-gendered people do not understand them and are so close-
                                           minded.” Another participant said, “I hear them disparaging heterosexuality, marriage and
                                           nuclear families.” Another participant said, “On my daughter’s Tumblr blog, she has liked or
                                           favorited or re-posted disparaging comments about those who aren’t transgender or seem to



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                                           misunderstand the transgender identity.” And another parent reported, “Her real life friends
                                           don’t [mock non-LGBT people] but online they are always swapping jokes and comments
                                           about cisgender and about transphobia.”
                                               Theme: Examples of behaviors. Participants gave many examples of the observed behav-
                                           iors that were mocking towards non-transgender people and non-LGB people. One partici-
                                           pant said, “My daughter called me a ‘breeder’ and says things in a mocking ‘straight person
                                           voice’. Her friends egg her on when she does this.” Another parent offered, “If they aren’t
                                           mocking ‘cis’ people, they are playing pronoun police and mocking people who can’t get the
                                           pronouns correct.” Another participant said, “New vocabulary includes ‘cis-stupid’ and ‘cis-
                                           stupidity.’” And a fourth participant described, “They assume anyone that is critical about
                                           being transgender (even just asking questions) is either ignorant or filled with hate.”
                                               Theme: Emphasizing victimhood. Participants described that their children and friend
                                           group seemed to focus on feeling as though they were victims. One participant described,
                                           “They seem to wear any problems they may have, real or perceived like badges of honor. . .I
                                           feel like they want to believe they are oppressed & have really ’been through life’, when they
                                           have little life experience.” Another participant said, “. . .there is a lot of feeling like a victim
                                           [and being] part of a victimized club.” Another parent said “But all talk is very ’victim’ cen-
                                           tered”. And finally, another said, “They passionately decry ‘Straight Privilege’ and ‘White Male
                                           Privilege’—while emphasizing their own ‘Victimhood.’”
                                               Theme: Consequences of behaviors. A few participants describe that because of their
                                           child’s behavior, there were consequences, including making it difficult for one child to return
                                           to her school and the following description from another parent, “Most relatives have blocked
                                           her on [social media] over constant jokes regarding cis and straight people.”
                                               Theme: Fueling the behaviors. In some cases, parents describe a synergistic effect of kids
                                           encouraging other kids to persist in the behavior as was described in a previous quote, “Her
                                           friends egg her on when she does this” as well as the following, “Lots of discussion revolving
                                           around how their teachers ‘discriminate’ or are ‘mean’ to them based on their declared
                                           LGBTIA identity, and they get each other riled up convincing each other of their persecution
                                           by these perceived wrongs . . . privately they mock our intolerance, and in person act upon
                                           these false beliefs by treating us as people out to get them. . .”


                                           Internet/social media exposure
                                           In the time period just before announcing that they were transgender, 63.5% of AYAs exhib-
                                           ited an increase in their internet/social media (Table 7). To assess AYA exposure to existing
                                           online content, parents were asked what kind of advice their child received from someone/
                                           people online. AYAs had received online advice including how to tell if they were transgender
                                           (54.2%); the reasons that they should transition right away (34.7%); that if their parents did
                                           not agree for them to take hormones that the parents were “abusive” and “transphobic”
                                           (34.3%); that if they waited to transition they would regret it (29.1%); what to say and what not
                                           to say to a doctor or therapist in order to convince them to provide hormones (22.3%); that if
                                           their parents were reluctant to take them for hormones that they should use the “suicide narra-
                                           tive” (telling the parents that there is a high rate of suicide in transgender teens) to convince
                                           them (20.7%); and that it is acceptable to lie or withhold information about one’s medical or
                                           psychological history from a doctor or therapist in order to get hormones/get hormones faster
                                           (17.5%). Two respondents, in answers to other questions, described that their children later
                                           told them what they learned from online discussion lists and sites. One parent reported, “He
                                           has told us recently that he was on a bunch of discussion lists and learned tips there. Places
                                           where teens and other trans people swap info. Like to use [certain, specific] words [with] the



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Table 7. Internet/Social media exposures.
                                                                                                                                                 n          %
AYAs internet/social media use just prior to announcement                                                                                      255
                                                                  Increased social media/internet use                                          162        63.5
                                                                  Decreased social media/internet use                                            3         1.2
                                                                  Unchanged social media/internet use                                           49        19.2
                                                                  Don’t know                                                                    41        16.1
AYA exposure to internet content/advice�                                                                                                       251
                                                                  How to tell if they are transgender                                          136        54.2
                                                                  The reasons that they should transition right away                            87        34.7
                                                                  That if their parents did not agree to take them for                          86        34.3
                                                                  hormones, that the parents are “abusive” and
                                                                  “transphobic”
                                                                  That if they waited to transition they would regret it                        73        29.1
                                                                  That if they didn’t transition immediately they would                         72        28.7
                                                                  never be happy
                                                                  How to order physical items (binders, packers, etc)                           67        26.7
                                                                  without parents finding out
                                                                  What to say and what NOT to say to a doctor or                                56        22.3
                                                                  therapist in order to convince them to provide
                                                                  hormones
                                                                  That if their parents are reluctant to take them                              52        20.7
                                                                  for hormones, that they should use the “suicide
                                                                  narrative” to convince them (telling the parents that
                                                                  there is a high rate of suicide in transgender teens.)
                                                                  Medical advice about the risks and benefits of hormones                       55        21.9
                                                                  Medical advice about the risks and benefits of surgery                        47        18.7
                                                                  That it is acceptable to lie to or withhold information                       44        17.5
                                                                  about one’s medical or psychological history
                                                                  from a doctor or therapist in order to get hormones/
                                                                  get hormones faster
                                                                  How to hide physical items from parents                                       40        15.9
                                                                  How to hide or make excuses for physical changes                              26        10.4
                                                                  How to get money from others online in order to pay for                       25        10.0
                                                                  medications, etc
                                                                  How to get hormones from online sources                                       24         9.6
                                                                  How to hide hormones from parents                                             21         8.4
                                                                  I don’t know if my child received online advice about these topics           127        50.6
�
    may select more than one answer.

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                                                    therapist when describing your GD, because [they are] code for potentially suicidal and will
                                                    get you a diagnosis and Rx for hormones.” Another parent disclosed, “The threat of suicide
                                                    was huge leverage. What do you say to that? It’s hard to have a steady hand and say no to medi-
                                                    cal transition when the other option is dead kid. She learned things to say that would push our
                                                    buttons and get what she wanted and she has told us now that she learned that from trans dis-
                                                    cussion sites.”
                                                       Parents identified the sources they thought were most influential for their child becoming
                                                    gender dysphoric. The most frequently answered influences were: YouTube transition videos
                                                    (63.6%); Tumblr (61.7%); a group of friends they know in person (44.5%); a community/group
                                                    of people that they met online (42.9%); a person they know in-person (not online) 41.7%. In
                                                    contrast to the majority of responses, two participants commented that they didn’t think the




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                                           sources influenced their child to become gender dysphoric, rather they gave their child a name
                                           for their feelings or gave the child confidence to come out. The following quotes illustrate the
                                           dominant quantitative findings. One parent wrote, “We believe the biggest influence was the
                                           online pro-transition blogs and youtube videos. We feel she was highly influenced by the ‘if
                                           you are even questioning your gender-you are probably transgender’ philosophy. . .In the ‘real
                                           world’ her friends, other trans peers, and newfound popularity were additional areas of rein-
                                           forcement.” Another respondent described the online influence as part of a different question,
                                           “I believe my child experienced what many kids experience on the cusp of puberty—uncom-
                                           fortableness!—but there was an online world at the ready to tell her that those very normal
                                           feelings meant she’s in the wrong body.”

                                           Mental well-being, mental health, and behaviors
                                           The trajectories of the AYAs were not consistent with the narrative of discovering one’s
                                           authentic self and then thriving. Specifically, parents reported that, after “coming out,” their
                                           children exhibited a worsening of their mental well-being. Additionally, parents noted worsen-
                                           ing of the parent-child relationship and observed that their children had narrowed their inter-
                                           ests (Table 8). Although small numbers of AYAs had improvement in mental well-being
                                           (12.6%), parent-child relationship (7.4%), grades/academic performance (6.4%), and had
                                           broadened their interests and hobbies (5.1%); the most common outcomes were worsened
                                           mental well-being (47.2%); worsened parent child relationship (57.3%); unchanged or mixed
                                           grades/academic performance (59.1%); and a narrowed range of interests and hobbies

                                           Table 8. Outcomes and behaviors.
                                           Characteristics                                                                                    n         %
                                           AYA mental well-being since                                                                      254
                                           announcement
                                                                                   Worse                                                    120       47.2
                                                                                   Better                                                    32       12.6
                                                                                   Unchanged or mixed                                       101       39.8
                                                                                   Don’t know                                                 1        0.4
                                           Parent-child relationship since                                                                  253
                                           announcement
                                                                                   Worse                                                    145       57.3
                                                                                   Better                                                    18        7.4
                                                                                   Unchanged or mixed                                        89       35.2
                                                                                   Don’t know                                                 1        0.4
                                           Grades/academic performance                                                                      220
                                                                                   Worse                                                     76       34.5
                                                                                   Better                                                    14        6.4
                                                                                   Unchanged/mixed                                          130       59.1
                                           Range of interests and hobbies                                                                   255
                                                                                   Much broader                                               2        0.8
                                                                                   Somewhat broader                                          11        4.3
                                                                                   Unchanged                                                 93       36.5
                                                                                   Somewhat narrower                                         64       25.1
                                                                                   Much narrower                                             56       22.0
                                                                                   There are very few topics outside of transgender          28       11.0
                                                                                   issues that my child is interested in
                                                                                   Don/t know                                                 1        0.4
                                           https://doi.org/10.1371/journal.pone.0202330.t008




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                                                    (58.1%). One parent describing her child’s trajectory offered, “After announcing she was trans-
                                                    gender, my daughter’s depression increased significantly. She became more withdrawn. She
                                                    stopped participating in activities which she previously enjoyed, stopped participating in fam-
                                                    ily activities, and significantly decreased her interaction with friends. Her symptoms became
                                                    so severe that she was placed on medication by her physician.” Table 9 describes cumulative
                                                    rates of mental illness and neurodevelopmental disability at the time of survey.
                                                        A total of 63.8% of the parents have been called “transphobic” or “bigoted” by their children
                                                    for one or more reasons, the most common being for: disagreeing with the child about the
                                                    child’s self-assessment of being transgender (51.2%); recommending that the child take more
                                                    time to figure out if their feelings of gender dysphoria persist or go away (44.6%); expressing
                                                    concerns for the child’s future if they take hormones and/or have surgery (40.4%); calling their
                                                    child by the pronouns they used to use (37.9%); telling the child they thought that hormones
                                                    or surgery would not help them (37.5%); recommending that their child work on other mental
                                                    health issues first to determine if they are the cause of the dysphoria (33.3%); calling the child
                                                    by their birth name (33.3%); or recommending a comprehensive mental health evaluation
                                                    before starting hormones and/or surgery (20.8%) (Table 10). There were eight cases of
                                                    estrangement. Estrangement was child-initiated in six cases where the child ran away, moved
                                                    out, or otherwise refused contact with parent. There were two cases where the estrangement
                                                    was initiated by the parent because the AYA’s outbursts were affecting younger siblings or
                                                    there was a threat of violence made by the AYA to the parent.
                                                        AYAs are reported to have exhibited one or more of the following behaviors: expressed dis-
                                                    trust of information about gender dysphoria and transgenderism coming from mainstream
                                                    doctors and psychologists (51.8%); tried to isolate themselves from their family (49.4%);
                                                    expressed that they only trust information about gender dysphoria and transgenderism that
                                                    comes from transgender websites and/or transgender people and sources (46.6%); lost interest
                                                    in activities where participants aren’t predominantly transgender or LGBTIA (32.3%); stopped
                                                    spending time with friends who were not transgender (25.1%); expressed distrust of people
                                                    who were not transgender (22.7%) (Table 10). Many AYAs have also: withdrawn from their
                                                    family (45.0%); told other people or posted on social media that their parent is “transphobic,”
                                                    “abusive,” or “toxic” because the parent does not agree with child’s self-assessment of being
                                                    transgender (43.0%); refused to speak to their parent (28.5%), defended the practice of lying to
                                                    or withholding information from therapists or doctors in order to obtain hormones for transi-
                                                    tion more quickly (16.5%); tried to run away (6.8%). The behaviors and outcomes listed above

Table 9. AYA Cumulative mental disorder and neurodevelopmental disability diagnoses.
Characteristics                                                                                                                         n                %
Mental disorder or neurodevelopmental disability                                                                                      243
                                                               Anxiety                                                                154              63.4
                                                               Depression                                                             143              58.8
                                                               Attention Deficit Hyperactivity Disorder (ADHD)                         36              14.8
                                                               Obsessive Compulsive Disorder (OCD)                                     30              12.3
                                                               Autism Spectrum Disorder (ASD)                                          30              12.3
                                                               Eating Disorder                                                         17               7.0
                                                               Bipolar Disorder                                                        17               7.0
                                                               Psychosis                                                                8               3.3
                                                               None of above                                                           52              21.4
                                                               (Other) Borderline                                                       7               2.9
                                                               (Other) Oppositional Defiant Disorder                                    2               0.8
https://doi.org/10.1371/journal.pone.0202330.t009




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Table 10. Additional behaviors.
                                                                                                                                                    n        %
Parents have been called “transphobic” or                                                                                                         240
“bigoted” by their child for the following reasons�
                                                          Disagreeing with their child about the child’s assessment of being transgender          123      51.2
                                                          Recommending that their child take more time to figure out if their feelings of         107      44.6
                                                          gender dysphoria persist or go away
                                                          Expressing concerns for their child’s future if the child were to take hormones          97      40.4
                                                          and/or have surgery
                                                          Referring to their child by the pronouns that they used to use before announcement       91      37.9
                                                          Telling their child that they thought hormones/surgery would not help them               90      37.5
                                                          Calling their child by the child’s birth name                                            80      33.3
                                                          Recommending that their child work on other mental health issues first                   80      33.3
                                                          to determine if they are the cause of their dysphoria
                                                          Recommending therapy for basic mental health issues (not related to gender)              74      30.8
                                                          Recommending a comprehensive evaluation before starting hormones and/or                  50      20.8
                                                          surgery
                                                          None of the above                                                                        87      36.2
Distrust and isolating behaviors exhibited by AYAs�                                                                                               251
                                                          Expressed distrust of information about gender dysphoria and transgenderism             130      51.8
                                                          coming from mainstream doctors and psychologists
                                                          Tried to isolate themselves from their family                                           124      49.4
                                                          Expressed that they ONLY trust information about gender dysphoria and                   117      46.6
                                                          transgenderism that comes from transgender websites and/or transgender
                                                          people and sources
                                                          Lost interest in activities where participants aren’t predominantly transgender          81      32.3
                                                          or LGBTIA
                                                          Lost interest in activities that were not related to transgender or LGBTIA issues        65      25.9
                                                          Stopped spending time with friends who are not transgender                               63      25.1
                                                          Expressed distrust of people who are not transgender                                     57      22.7
                                                          Expressed hostility towards people who are not transgender                               46      18.3
                                                          None of the above                                                                        44      17.5
Other behavior and outcomes for AYAs�                                                                                                             249
                                                          Withdrawn from family                                                                   112      45.0
                                                          Told other people or posted on social media that their parent is                        107      43.0
                                                          “transphobic”, “abusive”, or “toxic” because the parent does not
                                                          agree with the child’s assessment of being transgender
                                                          Refused to speak to parent                                                               71      28.5
                                                          Defended the practice of lying to or withholding information from therapists or          41      16.5
                                                          doctors in order to obtain hormones for transition more quickly
                                                          Tried to run away                                                                        17       6.8
                                                          Been unable to obtain a job                                                              25      10.0
                                                          Been unable to hold a job                                                                18       7.2
                                                          Dropped out of college                                                                   12       4.8
                                                          Dropped out of high school                                                               12       4.8
                                                          Needed to take a leave of absence from college                                           12       4.8
                                                          Been fired from a job                                                                     9       3.6
                                                          Needed a leave of absence from high school                                                1       0.4
                                                          None of the above                                                                        86      34.5
For any of the above, is this a significant change from                                                                                           161
the child’s baseline behavior?
                                                          Yes                                                                                     115      71.4
                                                          No                                                                                       46      28.6
�
    may select more than one answer.

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                                           were considered significant changes from the child’s baseline behaviors for 71.4% of respon-
                                           dents checking any of the items.
                                              There was a subset of eight cases where parents described watching their child have declin-
                                           ing mental well-being as they became gender dysphoric and transgender-identified and then
                                           had improving mental well-being as they dropped or backed away from a transgender-identifi-
                                           cation. One parent described a marked change in her daughter when she was out of school
                                           temporarily. “[Her] routine was disrupted. She spent all day on the internet, and lost her many
                                           school friends—her only friends were on-line and members of the trans community. In three
                                           months, my daughter announced she is trans, gender dysphoric, wants binders and top sur-
                                           gery, testosterone shots. . .she started self-harming. Now back at school. . .she tweeted that
                                           she’s so young, isn’t sure if she is trans, no longer wants to be referred to by the male name she
                                           had chosen. . .Since she has started back at school and is being exposed to a wide variety of
                                           people she is WAY happier.” Another parent described, “My daughter’s insight has improved
                                           considerably over the last few years, and she has also outgrown the belief that she is transgen-
                                           der. My daughter actually seemed to be looking for a reason for her depression which is now
                                           being successfully treated. . .My daughter is MUCH happier now that she is being treated for
                                           her genuine issues. Coming out as trans made her much worse for a while.”
                                              There was a subset of 30 cases where the AYAs’ transgender-identification occurred in the
                                           context of a decline in their ability to function (such as dropping out of high school or college,
                                           needing a leave of absence from high school or college, and/or being unable to obtain or hold a
                                           job), which parents reported as a significant change from their child’s baseline behavior. The
                                           declines were substantial as 43.3% of these AYAs had been identified as academically gifted
                                           students (some described as top of their class in high school, earning outstanding grades at
                                           prestigious universities) before they began to fail their classes, drop out of high school or col-
                                           lege, and became unable to hold a job. In most of these cases (76.7%), there was one or more
                                           psychiatric diagnosis made at the same time or within the year (60.0%) or within two years
                                           (16.7%) of the AYA’s new transgender-identification. Of the 23 individuals who had a psychi-
                                           atric diagnosis made within two years of assuming a transgender-identification, 91.3% (21/23)
                                           were diagnosed with depression; 73.9% (17/23) with anxiety; 26.0% (6/23) with bipolar disor-
                                           der; 17.4% (4/23) with borderline personality disorder; 8.7% (2/23) with psychosis/psychotic
                                           episode: and 8.7% (2/23) with an eating disorder.


                                           Clinical encounters
                                           Parents were asked if their child had seen a gender therapist, gone to a gender clinic, or seen a
                                           physician for the purpose of beginning transition and 92 respondents (36.2%) answered in the
                                           affirmative (Table 11). Many of the respondents clarified that their child had seen a clinician
                                           regarding their gender dysphoria for evaluation only. Although participants were not asked
                                           directly what kind of provider their child saw, specialties that were mentioned in answers
                                           included: general psychologists, pediatricians, family doctors, social workers, gender therapists,
                                           and endocrinologists. For parents who knew the content of their child’s evaluation, 71.6%
                                           reported that the clinician did not explore issues of mental health, previous trauma, or any alter-
                                           native causes of gender dysphoria before proceeding and 70.0% report that the clinician did not
                                           request any medical records before proceeding. Despite all of the AYAs in this study sample
                                           having an atypical presentation of gender dysphoria (no gender dysphoria prior to puberty),
                                           23.8% of the parents who knew the content of their child’s visit reported that the child was
                                           offered prescriptions for puberty blockers and/or cross-sex hormones at the first visit.
                                               One participant described, “For the most part, I was extremely frustrated with providers
                                           NOT acknowledging the mental disorder, anxiety, depression, etc before recommending



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Table 11. Interactions with clinicians.
                                                                                                                                                      n         %
Did the AYA see a gender therapist, go to a gender                                                                                                  254
clinic or see a physician for the purpose of transition?
                                                                    No                                                                              151       59.4
                                                                    Yes                                                                              92       36.2
                                                                    Don’t know                                                                       11        4.3
Did the therapist/physician/clinic staff explore issues                                                                                             100
of mental health, previous trauma, or any alternative causes
of gender dysphoria before proceeding?
                                                                    Yes                                                                              21       21.0
                                                                    No                                                                               53       53.0
                                                                    Don’t know                                                                       26       26.0
Did the therapist/physician/clinic staff request any                                                                                                 99
medical records before proceeding?
                                                                    Yes                                                                              21       21.2
                                                                    No                                                                               49       49.5
                                                                    Don’t know                                                                       29       29.3
Of parents who knew the content of the visit, did the                                                                                                80
AYA receive an Rx for puberty blockers and/or
cross-sex hormones at their first visit?
                                                                    AYA received an Rx for puberty blockers and/or cross-sex                         17       21.2
                                                                    hormones at their first visit
                                                                    AYA was offered a Rx for puberty blockers and/or                                  2        2.5
                                                                    cross-sex hormones at their first visit, but AYA or parent declined
                                                                    Total number of AYAs who received or were offered an Rx at first visit           19       23.8
                                                                    AYAs who did not receive/were not offered an Rx at their first visit             61       76.2
Did AYA misrepresent their history to the doctor or relay                                                                                            96
their history accurately?
                                                                    Parent is reasonably sure or positive that their child misrepresented or         64       66.7
                                                                    omitted parts of their history
                                                                    Parent is reasonable sure or positive that their child relayed their history     12       12.5
                                                                    completely and accurately
                                                                    Don’t know                                                                       20       20.8
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                                                       hormone replacement therapy.” And two participants described how the clinician treating
                                                       their child’s gender dysphoria refused to speak with the patients’ primary care physicians. One
                                                       participant said, “When we phoned the clinic, the doctor was hostile to us, told us to mind our
                                                       own business. Our family doctor tried to reach our son’s new doctor, but the trans doctor
                                                       refused to speak with her.” Another respondent shared “The pediatrician/‘gender specialist’
                                                       did not return calls or emails from the primary care physician who requested to talk with her
                                                       about my son’s medical history before she saw and treated him. . .she disregarded all historical
                                                       information provided by the family and primary care physician. . .did not verify any informa-
                                                       tion provided by my. . .son at his first visit even after being provided with multiple other his-
                                                       torical sources which differed significantly from his story.”
                                                          When asked about whether their child relayed their history completely and accurately to
                                                       clinicians or whether they misrepresented or omitted parts of their history, of those who knew
                                                       the content of their child’s visit, 84.2% of the parent respondents were reasonably sure or posi-
                                                       tive that their child had misrepresented or omitted parts of their history. Twenty-eight partici-
                                                       pants provided optional open text responses to this question and the responses were
                                                       categorized into: describing how the parent knew that the child misrepresented their history




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                                           (5); the content of what the child misrepresented (6 misrepresenting in general, 4 misrepre-
                                           senting to the clinician for a total of 10 examples); don’t know/not sure (4); expressing cer-
                                           tainty (1); and not relevant (8). For the five participants describing how they knew, the reasons
                                           included: being present when it happened, reading the report from the gender specialist, being
                                           told by their child that the child had misrepresented the truth, and being informed by the
                                           child’s psychiatrist. One respondent shared, “I have read the report from the gender specialist
                                           and it omits all the relevant context painting an almost unrecognizable picture of my son.” A
                                           second parent simply responded, “I was present.” Another respondent relayed about their
                                           (natal male) child, “My daughter told me and her mother that the first therapist she saw asked
                                           her stereotypical questions. . .She was afraid that if she didn’t describe herself as a ‘typical girl’
                                           she would not be believed.” And finally, one respondent wrote, “He has said now that he did
                                           [misrepresent his history] and used key words he was advised to say.” Ten participants pro-
                                           vided 13 examples of the content of misrepresentations and of these, 6 examples could have
                                           been easily verified to be false (claiming to be under the care of a psychiatrist, claiming to be
                                           on medication to treat a psychiatric condition, how one was doing academically, and claiming
                                           a childhood history of having playmates of one sex when the opposite was observed, and
                                           claiming strong childhood preferences for specific toys and clothing that is the opposite of
                                           what multiple individuals observed). Three of the content examples would have been challeng-
                                           ing to verify as false including: how one was feeling as a child, how one was feeling when a pic-
                                           ture was taken, and whether one was from an abusive home. And four of the content examples
                                           did not provide enough information to determine if they would be easy or challenging to verify
                                           as false, such as “My child distorts her history and our family life on a regular basis,” and “He
                                           has created an entire narrative that just isn’t true.”
                                                In addition to the previously mentioned case where the child literally rewrote her history by
                                           editing her diary, there were seven respondents who conveyed a process where their child was
                                           constantly rewriting their personal history to make it consistent with the idea that they always
                                           were transgender and/or had created a childhood history that was not what others had
                                           observed. It is unclear whether this process was deliberate or if the individuals were unaware
                                           of their actions. The following are quotes describing this phenomenon. One parent said,
                                           “. . .she is actively rewriting her personal history to support the idea that she was always trans.”
                                           Another respondent added,”. . .my daughter denies events I recollect from her childhood and
                                           puberty that contradicts her narrative of ‘always knowing she was a boy.’” Another respondent
                                           offered, “He is rewriting his personal history to suit his new narrative.” And a fourth respon-
                                           dent described, “[Our] son has completely made up his childhood to include only girl friends
                                           and dressing up in girls clothes and playing with dolls, etc. This is not the same childhood we
                                           have seen as parents.”


                                           Qualitative analysis
                                           The open-ended comments from the question about whether the clinician explored mental
                                           health, trauma or alternative causes of gender dysphoria before proceeding were selected for
                                           qualitative analysis. Nine major themes emerged from the data. Each theme is described in the
                                           following paragraphs with supporting quotes from participants.
                                               Theme: Failure to explore mental health, trauma or alternative causes of GD. Parents
                                           described that clinicians failed to explore their child’s mental health, trauma, or any alternative
                                           causes for the child’s gender dysphoria. This failure to explore mental health and trauma
                                           occurred even when patients had a history of mental health disorder or trauma, were currently
                                           being treated for a mental health disorder, or were currently experiencing symptoms. One par-
                                           ticipant said, “Nothing other than gender dysphoria was considered to explain my daughter’s



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                                           desire to transition.” Another participant said, “My daughter saw a child therapist and the
                                           therapist was preparing to support transgendering and did not explore the depression and anx-
                                           iety or previous trauma.”
                                               Theme: Insufficient evaluation. Another theme was insufficient evaluation where
                                           parents described evaluations that were too limited or too superficial to explore mental health,
                                           trauma or alternative causes of gender dysphoria. The following are three quotes by three dif-
                                           ferent parents describing insufficient evaluations. One parent said, “The exploration was egre-
                                           giously insufficient, very shallow, no effort to ask questions, engage in critical thinking about
                                           coexisting anxiety, or put on the brakes or even slow down.” Another participant stated,
                                           “When we tried to give our son’s trans doctor a medical history of our son, she refused to
                                           accept it. She said the half hour diagnosis in her office with him was sufficient, as she considers
                                           herself an expert in the field.” And a third parent wrote, “We were STUNNED by the lack of
                                           information, medical history sought by therapist and radical treatment suggestion. [One ]visit.
                                           The idea is, ‘if they say they were born in the wrong body, they are. To question this will only
                                           hurt her and prolong her suffering.’ [Our] daughter has had trauma in [the] past. [She] never
                                           was asked about it. [The] therapist did not ask parents a single question about our daughter.”
                                               Theme: Unwillingness or disinterest in exploring mental health, trauma or alternative
                                           causes of GD. Parents described that clinicians did not seem interested or willing to explore
                                           alternative causes. One parent described. “Her current therapist seems to accept her self diag-
                                           nosis of gender dysphoria and follows what she says without seeming too much interested in
                                           exploring the sexual trauma in her past.” Another parent wrote, “The Asperger psychiatrist did
                                           not seem to care whether our daughter’s gender dysphoria stemmed from Asperger’s. If our
                                           daughter wanted to be male, then that was enough.” And a third parent said. “The therapist
                                           did ask about those issues but seemed to want to accept the idea wholeheartedly that my
                                           daughter was transgender first and foremost, all other factors aside.”
                                               Theme: Mental health was explored. A few parents had the experience where the clini-
                                           cian either made an appropriate referral for further evaluation or the issues had been addressed
                                           previously. One parent said, “[The] previous mental health issues [were] already explored by
                                           other therapists ([my] child was in therapy and medicated before coming out as transgender).”
                                               Theme: Failure to communicate with patients’ medical providers. Several participants
                                           described clinicians who were unwilling to communicate with primary care physicians and
                                           mental health professionals even those professionals who were currently treating the patient.
                                           One participant relayed, “She did not review the extensive psychiatric records that were avail-
                                           able in a shared EMR [electronic medical record] and she did not consult with his outpatient
                                           psychiatrist prior to or after starting cross-sex hormonal therapy.” Another parent said, “My
                                           child had been seen for mental health issues for several years before presenting this new iden-
                                           tity, but the endocrinologist did not consult the mental health professionals for their opinions
                                           before offering hormones.”
                                               Theme: Misrepresentation of information by the patient. Several participants described
                                           how their child misrepresented their history to the clinician, thus, limiting the clinician’s ability
                                           to adequately explore mental health, trauma and alternative causes. One participant wrote, “At
                                           [the] first visit, [my] daughter’s dialogue was well-rehearsed, fabricated stories about her life told
                                           to get [the] outcome she desired. She parroted people from the internet.” Another parent
                                           reported, “My son concealed the trauma and mental health issues that he and the family had
                                           experienced.” And a third parent said, “I overheard my son boasting on the phone to his older
                                           brother that ‘the doc swallowed everything I said hook, line and sinker. Easiest thing I ever did.’”
                                               Theme: Transition steps were pushed by the clinician. Some parents described clini-
                                           cians who seemed to push the process of transition before the patient asked for it. One parent
                                           described that the doctor gave her daughter a prescription that she didn’t ask for, “The family



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                                           doctor who gave her the Androgel Rx [prescription] did NOT ask her many questions (she
                                           was surprised by this), nor did he await her assessment by a licensed psychiatrist before giving
                                           her this Rx. Nor did she ask him for this Rx.” Another parent reported that she and her child
                                           were at the endocrinologist’s office only to ask questions, and described, “. . .[he] didn’t listen
                                           to a word we were saying. He was too eager to get us set up with a ‘gender therapist’ to get the
                                           legal form he needed to start hormones, all while making sure we set up our next appointment
                                           within 6 months to start the hormones. . .”
                                               Theme: Parent views were discounted or ignored. Parents describe that the clinicians
                                           did not take their concerns seriously. One parent described, “I have to say I don’t know, but it
                                           is hard to believe that they adequately examined the history of bullying and being ostracized
                                           for being different, and the autistic traits that would lend a person like my son to risk every-
                                           thing for identifying with a group. I know that in the few contacts I had with the providers, my
                                           concerns were discounted.” And another said, “All of our emails went unanswered and were
                                           ignored. We are left out of everything because of our constant questioning of this being right
                                           for our daughter [because of her] trauma and current depression, anxiety and self-esteem
                                           problems.”
                                               Theme: Parent had concerns about the clinicians’ competence, professionalism or expe-
                                           rience. Parents expressed doubts about the clinicians regarding their experience, competence or
                                           professionalism. One parent said, “The clinic told me they explored these issues. I asked the risk
                                           manager at [redacted] if they’d considered a personality disorder. ‘Oh, no,’ she laughed. ‘That’s
                                           only with the older patients, not the teenagers.’ I’m deeply suspicious of their competence.”
                                           Another parent described, “What does concern me is that the people she talked to seemed to
                                           have no sense of professional duties, but only a mission to promote a specific social ideology.”


                                           Steps towards transition and current identification status
                                           This section reports on the duration of AYA transgender-identification (time from the AYA’s
                                           announcement of a transgender identity until the time the parent completed the survey) that
                                           covers, on average, 15.0 months (range 0.1–120 months) with a median of 11 months
                                           (Table 12). The steps taken towards transition during this timeframe are listed in Table 12. At
                                           the end of the timeframe, 83.2% of the AYAs were still transgender-identified, 5.5% were not
                                           still transgender-identified (desisted), 2.7% seemed to be backing away from transgender-iden-
                                           tification, and 8.6% of the parents did not know if their child was still identifying as transgender.
                                           Descriptions of backing away or moving from transgender-identified to not transgender-identi-
                                           fied include the following. One parent observed, “She identified as trans for six months . . . Now
                                           back at school, she is thinking maybe she’s not trans.” Another parent offered, “My daughter
                                           [identified] as trans from ages 13–16. She gradually desisted as she developed more insight into
                                           who she is.” One parent described that after one year of identifying as transgender, “basically,
                                           she changed her mind once she stopped spending time with that particular group of friends.”
                                           The duration of transgender-identification of the AYAs who were still transgender-identified at
                                           the time of survey was compared to the duration of those who were no longer transgender-iden-
                                           tified and those who seemed to be backing away from a transgender-identification (combined)
                                           by t-test. The difference between these groups was statistically significant (p = .025), with a t-
                                           value of -2.25 showing that those who were no longer transgender-identified and backing away
                                           had a longer duration of identification (mean = 24.1 months) and those who were still transgen-
                                           der-identified had a shorter mean duration (mean = 14.4 months).
                                               To explore the differences between the AYAs who had exposure to social influence (friend
                                           group, internet/social media, or both) and AYAs who did not have a clear exposure to social
                                           influence (neither and don’t know), a series of chi-squared calculations were performed for



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Table 12. Transition steps and disposition.
                                                                                                                                                  n            %
Transition Steps�                                                                                                                               256
                                                                  Changed hairstyle                                                             216          84.4
                                                                  Changed style of clothing                                                     210          82.0
                                                                  Asks to be called a new name                                                  188          73.4
                                                                  Asks for different pronouns                                                   175          68.4
                                                                  Taken cross-sex hormones                                                       29          11.3
                                                                  Legally changed name on government documents                                   19           7.4
                                                                  Taken anti-androgens                                                           11           4.3
                                                                  Taken puberty blockers                                                          7           2.7
                                                                  Had surgery                                                                     5           2.0
                                                                  None of the above                                                              14           5.5
Disposition                                                                                                                                     256
                                                                  Still transgender-identified                                                  213          83.2
                                                                  Not transgender-identified any more (desisted)                                 14           5.5
                                                                  Seems to be backing away from transgender-identification                        7           2.7
                                                                  Parent doesn’t know if the child is still transgender-identified               22           8.6
                                                                  De-transitioned (also counted in desisted category)                             3           1.2
Duration of transgender-identification overall                    Median duration 11 months, Mean duration 15.0 months                          225
                                                                  (range 0.1 months-120 months), median 11 months
Duration of transgender-identification if still                   Median duration 11 months, mean duration 14.4 months,                         204
transgender-identified                                            ange (0.1 months-72 months)
Duration of transgender-identification if no longer               Median duration 12 months, mean duration 24.2 months,                          13
transgender-identified                                            range (.75 months to 120 months)
Duration of transgender-identification if backing away            Median duration 12 months, mean duration 15 months,                             8
                                                                  range (3 months-36 months)
�
    may select more than one answer.

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                                                      selected variables. (See Table 13.) Statistically significant differences were revealed for AYAs
                                                      with exposure to social influences having worse outcomes for mental well-being and parent-
                                                      child relationships, and greater numbers exhibiting distrust, isolating and anti-social behaviors
                                                      including: narrowed range of interests and hobbies, expressing that they only trusted informa-
                                                      tion from transgender sources, trying to isolate themselves from their family, losing interest in
                                                      activities that weren’t predominantly with transgender or LGBTIA participants, and telling
                                                      people or posting on social media that their parent is “transphobic,” “abusive,” or “toxic”
                                                      because the parent doesn’t agree with the child’s assessment of being transgender. Although
                                                      the differences in additional isolating and anti-social behaviors did not reach statistical signifi-
                                                      cance, these behaviors trended towards higher rates in the AYAs who were exposed to social
                                                      influence and may have not reached significant levels due to small numbers. No significant dif-
                                                      ference for age of AYA (at announcement or at time of survey completion) was detected
                                                      between groups by a one-way ANOVA.


                                                      Discussion
                                                      This research describes parental reports about a sample of AYAs who would not have met
                                                      diagnostic criteria for gender dysphoria during their childhood but developed signs of gender
                                                      dysphoria during adolescence or young adulthood. The strongest support for considering that
                                                      the gender dysphoria was new in adolescence or young adulthood is the parental answers for



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Table 13. chi-squared comparisons for exposure to social influence (SI) vs not exposure to social influence (NSI).
                                                                                                                                              SI        NSI          p
                                                                                                                                           n (%)       n (%)
Sex                                                                                                                                          222          34      .123
                                                            Female                                                                     187 (84.2)   25 (73.5)
                                                            Male                                                                        35 (15.8)    9 (26.5)
Indicators of childhood GD                                                                                                                   221          33      .004
                                                            0–2 indicators                                                             216 (97.7)   29 (87.9)
                                                            3–4 indicators                                                                5 (2.3)    4 (12.1)
Currently have two or more GD indicators                                                                                                     214          34      .808
                                                            Yes                                                                        179(83.6)    29 (85.3)
                                                            No                                                                           35(16.4)     5(14.7)
No mental health or NDD diagnoses before onset of GD                                                                                         222          34      .036
                                                            Answered “None of the above”                                                87(39.9)     7 (20.6)
Mental well-being since announcement                                                                                                         220          33      .001
                                                            Worse                                                                      114 (51.8)    6 (18.2)
                                                            Better                                                                      24 (10.9)    8 (24.2)
                                                            Unchanged/Mixed                                                             82 (37.3)   19 (57.6)
Parent-child relationship since announcement                                                                                                 219          33      .006
                                                            Worse                                                                      134 (61.2)   11 (33.3)
                                                            Better                                                                       13 (5.9)    5 (15.2)
                                                            Unchanged/Mixed                                                             72 (32.9)   17 (51.5)
Range of interests and hobbies                                                                                                               220          34    <0.001
                                                            Broader range of interests and hobbies                                       10 (4.5)     3 (8.8)
                                                            Narrowed range of interest and hobbies                                     139 (63.2)    9 (26.5)
                                                            Unchanged range                                                             71 (32.3)   22 (64.7)
Distrust and Isolating Behaviors                                                                                                             222          34
                                                            Tried to isolate themselves from family                                    114(51.4)    10 (29.4)     .017
                                                            Expressed that they ONLY trust information about                           107 (48.2)   10 (29.4)     .041
                                                            GD and transgenderism that comes from transgender sources
                                                            Lost interest in activities where participants aren’t                       76 (34.2)    5 (14.7)     .023
                                                            predominantly transgender or LGBTIA
                                                            Stopped spending time with non-transgender friends                          59 (26.6)    4 (11.8)     .062
                                                            Expressed distrust of people who are not transgender                        52 (23.4)    5 (14.7)     .255
                                                            Told people or posted on social media that their parent is                 102 (45.9)    5 (14.7)   <0.001
                                                            “transphobic,” “abusive,” or “toxic” because the parent
                                                            doesn’t agree with the child’s assessment of being transgender
                                                            Defended the practice of lying to or withholding information from           38 (17.1)     3 (8.8)     .219
                                                            doctors/therapists to get hormones for transition more quickly
                                                            Brought up the issue of suicide in transgender teens as a reason            55 (24.8)    4 (11.8)     .093
                                                            parents should agree to treatment
Did the AYA misrepresent their history                                                                                                        68           8      .075
to the doctor or relay it accurately?
                                                            Parent is reasonable sure or positive that their child misrepresented or    59 (86.8)    5 (62.5)
                                                            omitted parts of their history
                                                            Parent is reasonable sure or positive that child relayed                     9 (13.2)    3 (37.5)
                                                            their history completely and accurately
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                                                    DSM 5 criteria for childhood gender dysphoria. Not only would none of the sample have met
                                                    threshold criteria, the vast majority had zero indicators. Although one might argue that three
                                                    of the indicators could plausibly be missed by a parent (A1, A7, and A8 if the child had not




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                                           expressed these verbally), five of the indicators (A2-6) are readily observable behaviors and
                                           preferences that would be difficult for a parent to miss. Six indicators (including A1) are
                                           required for a threshold diagnosis. The nonexistent and low numbers of readily observable
                                           indicators reported in the majority of this sample does not support a scenario in which gender
                                           dysphoria was always present but was only recently disclosed to the parents.
                                               Parents reported that before the onset of their gender dysphoria, many of the AYAs had
                                           been diagnosed with at least one mental health disorder or neurodevelopmental disability and
                                           many had experienced a traumatic or stressful event. Experiencing a sex or gender related
                                           trauma was not uncommon, nor was experiencing a family stressor (such as parental divorce,
                                           death of a parent, or a mental health disorder in a sibling or parent). Additionally, nearly half
                                           were described as having engaged in self-harm prior to the onset of their gender dysphoria. In
                                           other words, many of the AYAs and their families had been navigating multiple challenges and
                                           stressors before gender dysphoria and transgender-identification became part of their lives.
                                           This context could possibly contribute to friction between parent and child and these complex,
                                           overlapping difficulties as well as experiences of same-sex attraction may also be influential in
                                           the development of a transgender identification for some of these AYAs. Care should be taken
                                           not to overstate or understate the context of pre-existing diagnoses or trauma in this popula-
                                           tion as they were absent in approximately one third and present in approximately two thirds
                                           of the sample.
                                               This research sample of AYAs also differs from the general population in that it is predomi-
                                           nantly natal female, white, and has an over-representation of individuals who are academically
                                           gifted, non-heterosexual, and are offspring of parents with high educational attainment [59–
                                           61]. The sex ratio favoring natal females is consistent with recent changes in the population of
                                           individuals seeking care for gender dysphoria. Gender clinics have reported substantial
                                           increases in referrals for adolescents with a change in the sex ratio of patients moving from
                                           predominantly natal males seeking care for gender dysphoria to predominantly natal females
                                           [26–28, 62]. Although increased visibility of transgender individuals in the media and avail-
                                           ability of information online, with a partial reduction of stigma might explain some of the rise
                                           in the numbers of adolescents presenting for care [27], it would not directly explain why the
                                           inversion of the sex ratio has occurred for adolescents but not adults or why there is a new phe-
                                           nomenon of natal females experiencing late-onset and adolescent-onset gender dysphoria.
                                           The unexpectedly high rate of academically gifted AYAs may be related to the high educational
                                           attainment of the parents and may be a reflection of parents who are online, able to complete
                                           online surveys and are able to question and challenge current narratives about gender dyspho-
                                           ria and transition. There may be other unknown variables that render academically gifted
                                           AYAs susceptible to adolescent-onset and late-onset gender dysphoria. The higher than
                                           expected rate of non-heterosexual orientations of the AYAs (prior to announcement of a trans-
                                           gender-identity) may suggest that the desire to be the opposite sex could stem from experienc-
                                           ing homophobia as a recent study showed that being the recipient of homophobic name
                                           calling from one’s peers was associated with a change in gender identity for adolescents [63].
                                           The potential relationship of experienced homophobia and the development of a rapid onset
                                           of gender dysphoria during adolescence or young adulthood as perceived by parents deserves
                                           further study.
                                               This sample is distinctively different than what is described in previous research about gen-
                                           der dysphoria because of the distribution of cases occurring in friendship groups with multiple
                                           individuals identifying as transgender, the preponderance of adolescent (natal) females, the
                                           absence of childhood gender dysphoria, and the perceived suddenness of onset. In this study,
                                           parental reports of transgender identification duration in AYAs suggest that in some cases
                                           (~8% in this study) gender dysphoria and transgender-identification may be temporary, and



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                                           that longer observation periods may be needed to assess such changes. Further research is
                                           needed to verify these results. There have been anecdotal reports of adolescents who desisted
                                           approximately 9–36 months after showing signs of a rapid onset of gender dysphoria, but lon-
                                           gitudinal research following AYAs with gender dysphoria would be necessary to study desis-
                                           tance trends. Although it is still unknown whether transition in gender dysphoric individuals
                                           decreases, increases, or fails to change the rates of attempted or completed suicides [64], this
                                           study documents AYAs using a suicide narrative as part of their arguments to parents and doc-
                                           tors towards receiving support and transition services. Despite the possibility that the AYAs
                                           are using a suicide narrative to manipulate others, it is critical that any suicide threat, ideation
                                           or concern is taken seriously and the individual should be evaluated immediately by a mental
                                           health professional.
                                              The majority of parents were reasonably sure or certain that their child misrepresented or
                                           omitted key parts of their history to their therapists and physicians. In some cases, the misrep-
                                           resentation of one’s history may simply be a deliberate act by a person who is convinced that
                                           transition is the only way that they will feel better and who may have been coached that lying is
                                           the only way to get what they think they need. For others, the misrepresentation may not be a
                                           conscious act. The creation of an alternate version of one’s childhood that conforms to a story
                                           of always knowing one was transgender and that is in sharp contrast to the childhood that was
                                           observed by third parties raises the question of whether there has been the creation of false
                                           childhood memories as part of, or outside of, the therapy process. Respondent accounts of cli-
                                           nicians who ignored or disregarded information (such as mental health symptoms and diagno-
                                           ses, medical and trauma histories) that did not support the conclusion that the patient was
                                           transgender, suggests the possibility of motivated reasoning and confirmatory biases on the
                                           part of clinicians. In the 1990s, the beliefs and practices of many mental health professionals
                                           may have contributed to their patients’ creation of false childhood memories consistent with a
                                           child sexual abuse narrative and research since then has shown that false childhood memories
                                           of mundane events can be implanted in laboratory settings [65–67]. It may be worthwhile to
                                           explore if, in today’s culture, there might be beliefs and practices of some mental health profes-
                                           sionals that are contributing to their patients’ creation of false childhood memories consistent
                                           with an “always knew/always were transgender” narrative.



                                           Emerging hypotheses
                                           Hypothesis 1: Social influences can contribute to the development of
                                           gender dysphoria
                                           It is unlikely that friends and the internet can make people transgender. However, it is plausi-
                                           ble that the following can be initiated, magnified, spread, and maintained via the mechanisms
                                           of social and peer contagion: (1) the belief that non-specific symptoms (including the symp-
                                           toms associated with trauma, symptoms of psychiatric problems, and symptoms that are part
                                           of normal puberty) should be perceived as gender dysphoria and their presence as proof of
                                           being transgender; 2) the belief that the only path to happiness is transition; and 3) the belief
                                           that anyone who disagrees with the self-assessment of being transgender or the plan for transi-
                                           tion is transphobic, abusive, and should be cut out of one’s life. The spread of these beliefs
                                           could allow vulnerable AYAs to misinterpret their emotions, incorrectly believe themselves to
                                           be transgender and in need of transition, and then inappropriately reject all information that
                                           is contrary to these beliefs. In other words, “gender dysphoria” may be used as a catch-all
                                           explanation for any kind of distress, psychological pain, and discomfort that an AYA is feeling
                                           while transition is being promoted as a cure-all solution.



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                                               One of the most compelling findings supporting a potential role of social and peer conta-
                                           gion in the development or expression of a rapid onset of gender dysphoria is the clusters of
                                           transgender-identification occurring within friendship groups. The expected prevalence of
                                           transgender young adult individuals is 0.7% [8]. Yet, according to the parental reports, more
                                           than a third of the friendship groups described in this study had 50% or more of the AYAs in
                                           the group becoming transgender-identified in a similar time frame. This suggests a localized
                                           increase to more than 70 times the expected prevalence rate. This is an observation that
                                           demands urgent further investigation. One might argue that high rates of transgender-identi-
                                           fied individuals within friend groups may be secondary to the process of friend selection:
                                           choosing transgender-identified friends deliberately rather than the result of group dynamics
                                           and observed coping styles contributing to multiple individuals, in a similar timeframe, start-
                                           ing to interpret their feelings as consistent with being transgender. More research will be
                                           needed to finely delineate the timing of friend group formation and the timing and pattern of
                                           each new declaration of transgender-identification. Although friend selection may play a role
                                           in these high percentages of transgender-identifying members in friend groups, the described
                                           pattern of multiple friends (and often the majority of the friends in the friend group) becoming
                                           transgender-identified in a similar timeframe suggests that there may be more than just friend
                                           selection behind these elevated percentages.
                                               There are many insights from our understanding of peer contagion in eating disorders and
                                           anorexia that may apply to the potential role(s) of peer contagion in the development of gender
                                           dysphoria. Just as friendship cliques can set the level of preoccupation with one’s body, body
                                           image, weight, and techniques for weight loss [37–39], so too may friendship cliques set a level
                                           of preoccupation with one’s body, body image, gender, and the techniques to transition. The
                                           descriptions of pro-anorexia subculture group dynamics where the thinnest anorexics are
                                           admired while the anorexics who try to recover from anorexia are ridiculed and maligned as
                                           outsiders [39–41] resemble the group dynamics in friend groups that validate those who iden-
                                           tify as transgender and mock those who do not. And the pro-eating-disorder websites and
                                           online communities providing inspiration for weight loss and sharing tricks to help individuals
                                           deceive parents and doctors [42–44] may be analogous to the inspirational YouTube transition
                                           videos and the shared online advice about manipulating parents and doctors to obtain
                                           hormones.


                                           Hypothesis 2: Parental conflict might provide alternative explanations for
                                           selected findings
                                           Parents reported subjective declines in their AYAs’ mental health and in parent-child relation-
                                           ships after the children disclosed a transgender identification. Additionally, per parent report,
                                           almost half of the AYAs withdrew from family, 28.5% refused to speak to a parent, and 6.8%
                                           tried to run away. It is possible that some of these findings might be secondary to parent-child
                                           conflict. Parent-child conflict could arise from disagreement over the child’s self-assessment of
                                           being transgender. It is also possible that some parents might have had difficulty coping or
                                           could have been coping poorly or maladaptively with their child’s disclosure. Other potential
                                           explanations for the above findings include worsening of AYAs’ pre-existing (or onset of new)
                                           psychiatric conditions or the use of maladaptive coping mechanisms. To further evaluate these
                                           possibilities, future studies should incorporate information about family dynamics, parent-
                                           child interactions, parent coping, child coping, and psychiatric trajectories. This study did not
                                           collect data about the parents’ baseline coping styles, how they were coping with their child’s
                                           disclosure, and whether their coping seemed to be maladaptive or adaptive. Nor did it explore
                                           parents’ mental well-being. Future studies should explore these issues as well.



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                                               Although most parents reported an absence of childhood indicators for gender dysphoria,
                                           it is possible that these indicators might have existed for some of the AYAs and that some
                                           parents either failed to notice or ignored these indicators when they occurred. Because the
                                           readily observable indicators could also have been observed by other people in the child’s life,
                                           future studies should include input from parents, AYAs and from third party informants such
                                           as teachers, pediatricians, mental health professionals, babysitters, and other family members
                                           to verify the presence or absence of readily observable behaviors and preferences during child-
                                           hood. Parental approaches to their child’s gender dysphoria might contribute to specific out-
                                           comes. This study did not specifically explore parental approaches to gender dysphoria or
                                           parental views on medical or surgical interventions. Additional studies that explore whether
                                           parents support or don’t support: gender exploration; gender nonconformity; non-heterosex-
                                           ual sexual identities; mental health evaluation and treatment; and exploration of potential
                                           underlying causes for dysphoria would be extremely valuable. It would also be worthwhile to
                                           explore whether parents favor affirming the child as a person or affirming the child’s gender
                                           identity and whether parents hold liberal, cautious, or negative views about the use of medical
                                           and surgical interventions for gender dysphoria in AYAs.


                                           Hypothesis 3: Maladaptive coping mechanisms may underlie the
                                           development of gender dysphoria for some AYAs
                                           For some individuals, the drive to transition may represent an ego-syntonic but maladaptive
                                           coping mechanism to avoid feeling strong or negative emotions similar to how the drive to
                                           extreme weight loss can serve as an ego-syntonic but maladaptive coping mechanism in
                                           anorexia nervosa [68–69]. A maladaptive coping mechanism is a response to a stressor that
                                           might relieve the symptoms temporarily but does not address the cause of the problem and
                                           may cause additional negative outcomes. Examples of maladaptive coping mechanisms
                                           include the use of alcohol, drugs, or self-harm to distract oneself from experiencing painful
                                           emotions. One reason that the treatment of anorexia nervosa is so challenging is that the drive
                                           for extreme weight loss and weight loss activities can become a maladaptive coping mechanism
                                           that allows the patient to avoid feeling and dealing with strong emotions [69–70]. In this con-
                                           text, dieting is not felt as distressing to the patient, because it is considered by the patient to be
                                           the solution to her problems, and not part of the problems. In other words, the dieting and
                                           weight loss activities are ego-syntonic to the patient. However, distress is felt by the patient
                                           when external actors (doctors, parents, hospital staff) try to interfere with her weight loss activ-
                                           ities thus curtailing her maladaptive coping mechanism.
                                               Findings that may support a maladaptive coping mechanism hypothesis include that the
                                           most likely description of AYA ability to use negative emotions productively was poor/
                                           extremely poor and the majority of AYAs were described as “overwhelmed by strong emotions
                                           and tries to/goes to great lengths to avoid experiencing them.” Although these are not validated
                                           questions, the findings suggest, at least, that there is a history of difficulty dealing with emo-
                                           tions. The high frequency of parents reporting AYA expectations that transition would solve
                                           their problems coupled with the sizable minority who reported AYA unwillingness to work on
                                           basic mental health issues before seeking treatment support the concept that the drive to tran-
                                           sition might be used to avoid dealing with mental health issues and aversive emotions. Addi-
                                           tional support for this hypothesis is that the sample of AYAs described in this study are
                                           predominantly female, were described by parents as beginning to express symptoms during
                                           adolescence and contained an overrepresentation of academically gifted students which bears
                                           a strong resemblance to populations of individuals diagnosed with anorexia nervosa [71–75].
                                           The risk factors, mechanisms and meanings of anorexia nervosa [69–70, 76] may ultimately



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                                           prove to be a valuable template to understand the risk factors, mechanisms, and meanings for
                                           some cases of gender dysphoria.
                                               Transition as a drive to escape one’s gender/sex, emotions, or difficult realities might also
                                           be considered when the drive to transition arises after a sex or gender-related trauma or within
                                           the context of significant psychiatric symptoms and decline in ability to function. Although
                                           trauma and psychiatric disorders are not specific for the development of gender dysphoria,
                                           these experiences may leave a person in psychological pain and in search of a coping mecha-
                                           nism. The first coping mechanism that a vulnerable person adopts may be the result of their
                                           environment and which narratives for pain and coping are most prevalent in that environ-
                                           ment—in some settings a gender dysphoria/drive to transition may be the dominant para-
                                           digm, in some settings a body dysphoria/drive for extreme weight loss is dominant, and in
                                           another the use of alcohol and drugs to cope with pain may be dominant. Because maladaptive
                                           coping mechanisms do not address the root cause of distress and may cause their own negative
                                           consequences, an outcome commonly reported for this sample, AYAs experiencing a decline
                                           in their mental well-being after transgender-identification, is consistent with this hypothesis.
                                           There was a subset of AYAs for whom parents reported improvement in their mental well-
                                           being as they desisted from their transgender-identification which would not be inconsistent
                                           with moving from a maladaptive coping mechanism to an adaptive coping mechanism.
                                               If the above hypotheses are correct, rapid onset of gender dysphoria that is socially medi-
                                           ated and/or used as a maladaptive coping mechanism may be harmful to AYAs in the follow-
                                           ing ways: (1) non-treatment or delayed treatment for trauma and mental health problems that
                                           might be the root of (or at least an inherent part of) the AYAs’ issues; (2) alienation of the
                                           AYAs from their parents and other crucial social support systems; (3) isolation from main-
                                           stream, non-transgender society, which may curtail educational and vocational potential; and
                                           (4) the assumption of the medical and surgical risks of transition without benefit. In addition
                                           to these indirect harms, there is also the possibility that this type of gender dysphoria, with the
                                           subsequent drive to transition, may represent a form of intentional self-harm. Promoting the
                                           affirmation of a declared gender and recommending transition (social, medical, surgical) with-
                                           out evaluation may add to the harm for these individuals as it can reinforce the maladaptive
                                           coping mechanism, prolong the length of time before the AYA accepts treatment for trauma
                                           or mental health issues, and interfere with the development of healthy, adaptive coping mecha-
                                           nisms. It is especially critical to differentiate individuals who would benefit from transition
                                           from those who would be harmed by transition before proceeding with treatment.


                                           Reflections
                                           Clinicians need to be aware of the myriad of barriers that may stand in the way of making
                                           accurate diagnoses when an AYA presents with a desire to transition including: the develop-
                                           mental stage of adolescence; the presence of subcultures coaching AYAs to mislead their doc-
                                           tors; and the exclusion of parents from the evaluation. In this study, 22.3% of AYAs were
                                           reported as having been exposed to online advice about what to say to doctors to get hor-
                                           mones, and 17.5% to the advice that it is acceptable to lie to physicians; and the vast majority
                                           of parents were reasonably sure or positive that their child misrepresented their history to
                                           their doctor or therapist. Furthermore, although parents may be knowledgeable informants on
                                           matters of their own child’s developmental, medical, social, behavioral, and mental health his-
                                           tory- and quite possibly because they are knowledgeable- they are often excluded from the clin-
                                           ical discussion by the AYAs, themselves. An AYA telling their clinician that their parents are
                                           transphobic and abusive may indeed mean that the parents are transphobic and abusive. How-
                                           ever, the findings of this research indicate that it is also possible that the AYA calls the parent



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                                           transphobic and abusive because the parent disagrees with the child’s self-diagnosis, has
                                           expressed concern for the child’s future, or has requested that the child be evaluated for mental
                                           health issues before proceeding with treatment.
                                               The findings of this study suggest that clinicians need to be cautious before relying solely
                                           on self-report when AYAs seek social, medical or surgical transition. Adolescents and young
                                           adults are not trained medical professionals. When AYAs diagnose their own symptoms based
                                           on what they read on the internet and hear from their friends, it is quite possible for them to
                                           reach incorrect conclusions. It is the duty of the clinician, when seeing a new AYA patient
                                           seeking transition, to perform their own evaluation and differential diagnosis to determine if
                                           the patient is correct or incorrect in their self-assessment of their symptoms and their convic-
                                           tion that they would benefit from transition. This is not to say that the convictions of the
                                           patient should be dismissed or ignored, some may ultimately benefit from transition. How-
                                           ever, careful clinical exploration should not be neglected, either. The patient’s history being
                                           significantly different than their parents’ account of the child’s history should serve as a red
                                           flag that a more thorough evaluation is needed and that as much as possible about the patient’s
                                           history should be verified by other sources. The findings that the majority of clinicians
                                           described in this study did not explore trauma or mental health disorders as possible causes of
                                           gender dysphoria or request medical records in patients with atypical presentations of gender
                                           dysphoria is alarming. The reported behavior of clinicians refusing to communicate with their
                                           patients’ parents, primary care physicians, and psychiatrists betrays a resistance to triangula-
                                           tion of evidence which puts AYAs at considerable risk.
                                               It is possible that some teens and young adults may have requested that their discussions
                                           with the clinicians addressing gender issues be kept confidential from their parents, as is their
                                           right (except for information that would put themselves or others at harm). However, main-
                                           taining confidentiality of the patient does not prevent the clinician from listening to the medi-
                                           cal and social history of the patient provided by the parent. Nor does it prevent a clinician
                                           from accepting information provided by the patient’s primary care physicians and psychia-
                                           trists. Because adolescents may not be reliable historians and may have limited awareness and
                                           insight about their own emotions and behaviors, the inclusion of information from multiple
                                           informants is often recommended when working with or evaluating minors. One would
                                           expect that if a patient refuses the inclusion of information from parents and physicians (prior
                                           and current), that the clinician would explore this with the patient and encourage them to
                                           reconsider. At the very least, if a patient asks that all information from parents and medical
                                           sources be disregarded, it should raise the suspicion that what the patient is presenting may be
                                           less than forthcoming and the clinician should proceed with caution.
                                               The argument to surface from this study is not that the insider perspectives of AYAs pre-
                                           senting with signs of a rapid onset of gender dysphoria should be set aside by clinicians, but
                                           that the insights of parents are a pre-requisite for robust triangulation of evidence and fully
                                           informed diagnosis. All parents know their growing children are not always right, particularly
                                           in the almost universally tumultuous period of adolescence. Most parents have the awareness
                                           and humility to know that even as adults they are not always right themselves. When an AYA
                                           presents with signs of a rapid onset of gender dysphoria it is incumbent upon all professionals
                                           to fully respect the young person’s insider perspective but also, in the interests of safe diagnosis
                                           and avoidance of clinical harm, to have the awareness and humility themselves to engage with
                                           parental perspectives and triangulate evidence in the interest of validity and reliability.
                                               The strengths of this study include that it is the first empirical description of a specific phe-
                                           nomenon that has been observed by parents and clinicians [14] and that it explores parent
                                           observations of the psychosocial context of youth who have recently identified as transgender
                                           with a focus on vulnerabilities, co-morbidities, peer group interactions, and social media use.



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                                           Additionally, the qualitative analysis of responses about peer group dynamics provides a rich
                                           illustration of AYA intra-group and inter-group behaviors as observed and reported by
                                           parents. This research also provides a glimpse into parent perceptions of clinician interactions
                                           in the evaluation and treatment of AYAs with an adolescent-onset (or young adult-onset) of
                                           gender dysphoria symptoms.
                                               The limitations of this study include that it is a descriptive study and thus has the known
                                           limitations inherent in all descriptive studies. This is not a prevalence study and does not
                                           attempt to evaluate the prevalence of gender dysphoria in adolescents and young adults who
                                           had not exhibited childhood symptoms. Likewise, this study’s findings did not demonstrate
                                           the degree to which the onset of gender dysphoria symptoms may be socially mediated or asso-
                                           ciated with a maladaptive coping mechanism, although these hypotheses were discussed here.
                                           Gathering more data on the topics introduced is a key recommendation for further study. It is
                                           not uncommon for first, descriptive studies, especially when studying a population or phe-
                                           nomenon where the prevalence is unknown, to use targeted recruiting. To maximize the possi-
                                           bility of finding cases meeting eligibility criteria, recruitment is directed towards communities
                                           that are likely to have eligible participants. For example, in the first descriptive study about
                                           children who had been socially transitioned, the authors recruited potential subjects from gen-
                                           der expansive camps and gender conferences where parents who supported social transition
                                           for young children might be present and the authors did not seek out communities where
                                           parents might be less inclined to find social transition for young children appropriate [77]. In
                                           the same way, for the current study, recruitment was targeted primarily to sites where parents
                                           had described the phenomenon of a rapid onset of gender dysphoria because those might be
                                           communities where such cases could be found. The generalizability of the study must be care-
                                           fully delineated based on the recruitment methods, and, like all first descriptive studies, addi-
                                           tional studies will be needed to replicate the findings.
                                               Three of the sites that posted recruitment information expressed cautious or negative views
                                           about medical and surgical interventions for gender dysphoric adolescents and young adults
                                           and cautious or negative views about categorizing gender dysphoric youth as transgender. One
                                           of the sites that posted recruitment information is perceived to be pro-gender-affirming.
                                           Hence, the populations viewing these websites might hold different views or beliefs from each
                                           other. And both populations may differ from a broader general population in their attitudes
                                           about transgender-identified individuals. This study did not explore specific participant views
                                           about medical and surgical interventions for gender dysphoric youth or whether participants
                                           support or don’t support: exploration of gender identity, exploration of potential underlying
                                           causes for gender dysphoria, affirmation of children as valued individuals or affirmation of
                                           children’s gender identity. Future studies should explore all these issues. This study cannot
                                           speak to those details about the participants.
                                               Respondents were asked, “Do you believe that transgender people deserve the same rights
                                           and protections as others in your country?” which is a question that was adapted from a ques-
                                           tion used for a US national poll [78]. Although this question cannot elicit specific details about
                                           a persons’ beliefs about medical interventions, beliefs about transgender identification, or their
                                           beliefs about their own child, it can be used to assess if the participants in this study are similar
                                           in their basic beliefs about the rights of transgender people to the participants in the US
                                           national poll. The majority (88.2%) of the study participants gave affirmative answers to the
                                           question which is consistent with the 89% affirmative response reported in a US national poll
                                           [78]. All self-reported results have the potential limitation of social desirability bias. However,
                                           comparing this self-report sample to the national self-report sample [78], the results show sim-
                                           ilar rates of support. Therefore, there is no evidence that the study sample is appreciably differ-
                                           ent in their support of the rights of transgender people than the general American population.



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                                           It is also important to note that recruitment was not limited to the websites where the informa-
                                           tion about the study was first posted. Snowball sampling was also used so that any person view-
                                           ing the recruitment information was encouraged to share the information with any person or
                                           community where they thought there could be potentially eligible participants, thus substan-
                                           tially widening the reach of potential respondents. In follow up studies on this topic, an even
                                           wider variety of recruitment sources should be attempted.
                                               Another limitation of this study is that it included only parental perspective. Ideally, data
                                           would be obtained from both the parent and the child and the absence of either perspective
                                           paints an incomplete account of events. Input from the youth would have yielded additional
                                           information. Further research that includes data collection from both parent and child is
                                           required to fully understand this condition. However, because this research has been produced
                                           in a climate where the input from parents is often neglected in the evaluation and treatment of
                                           gender dysphoric AYAs, this research supplies a valuable, previously missing piece to the jig-
                                           saw puzzle. If Hypothesis 3 is correct that for some AYAs gender dysphoria represents an ego-
                                           syntonic maladaptive coping mechanism, data from parents are especially important because
                                           affected AYAs may be so committed to the maladaptive coping mechanism that their ability to
                                           assess their own situation may be impaired. Furthermore, parents uniquely can provide details
                                           of their child’s early development and the presence or absence of readily observable childhood
                                           indicators of gender dysphoria are especially relevant to the diagnosis. There are, however,
                                           obvious limitations to relying solely on parent report. It is possible that some of the participat-
                                           ing parents may not have noticed symptoms of gender dysphoria before their AYA’s disclosure
                                           of a transgender identity; could have been experiencing shock, grief, or difficulty coping from
                                           the disclosure; or even could have chosen to deny or obscure knowledge of long term gender
                                           dysphoria. Readers should hold this possibility in mind. Overall, the 200 plus responses appear
                                           to have been prepared carefully and were rich in detail, suggesting they were written in good
                                           faith and that parents were attentive observers of their children’s lives. Although this research
                                           adds the necessary component of parent observation to our understanding of gender dys-
                                           phoric adolescents and young adults, future study in this area should include both parent and
                                           child input.
                                               This research does not imply that no AYAs who become transgender-identified during
                                           their adolescent or young adult years had earlier symptoms nor does it imply that no AYAs
                                           would ultimately benefit from transition. Rather, the findings suggest that not all AYAs pre-
                                           senting at these vulnerable ages are correct in their self-assessment of the cause of their symp-
                                           toms and some AYAs may be employing a drive to transition as a maladaptive coping
                                           mechanism. It may be difficult to distinguish if an AYA’s declining mental health is occurring
                                           due to the use of a maladaptive coping mechanism, due to the worsening of a pre-existing (or
                                           onset of a new) psychiatric condition, or due to conflict with parents. Clinicians should care-
                                           fully explore these options and try to clarify areas of disagreement with confirmation from out-
                                           side sources such as medical records, psychiatrists, psychologists, primary care physicians, and
                                           other third party informants where possible. Further study of maladaptive coping mecha-
                                           nisms, psychiatric conditions and family dynamics in the context of gender dysphoria and
                                           mental health would be an especially valuable contribution to better understand how to treat
                                           youth with gender dysphoria.
                                               More research is needed to determine the incidence, prevalence, persistence and desistence
                                           rates, and the duration of gender dysphoria for adolescent-onset gender dysphoria and to
                                           examine whether rapid-onset gender dysphoria is a distinct and/or clinically valid subcategory
                                           of gender dysphoria. Adolescent-onset gender dysphoria is sufficiently different from early-
                                           onset of gender dysphoria that persists or worsens at puberty and therefore, the research
                                           results from early-onset gender dysphoria should not be considered generalizable to



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                                           adolescent-onset gender dysphoria. It is currently unknown whether the gender dysphorias of
                                           adolescent-onset gender dysphoria and of late-onset gender dysphoria occurring in young
                                           adults are transient, temporary or likely to be long-term. Without the knowledge of whether
                                           the gender dysphoria is likely to be temporary, extreme caution should be applied before con-
                                           sidering the use of treatments that have permanent effects such as cross-sex hormones and sur-
                                           gery. Research needs to be done to determine if affirming a newly declared gender identity,
                                           social transition, puberty suppression and cross-sex hormones can cause an iatrogenic persis-
                                           tence of gender dysphoria in individuals who would have had their gender dysphoria resolve
                                           on its own and whether these interventions prolong the duration of time that an individual
                                           feels gender dysphoric before desisting. There is also a need to discover how to diagnose these
                                           conditions, how to treat the AYAs affected, and how best to support AYAs and their families.
                                           Additionally, analyses of online content for pro-transition sites and social media should be
                                           conducted in the same way that content analysis has been performed for pro-eating disorder
                                           websites and social media content [44]. Finally, further exploration is needed for potential con-
                                           tributors to recent demographic changes including the substantial increase in the number of
                                           adolescent natal females with gender dysphoria and the new phenomenon of natal females
                                           experiencing late-onset or adolescent-onset gender dysphoria.

                                           Conclusion
                                           Collecting data from parents in this descriptive exploratory study has provided valuable,
                                           detailed information that allows for the generation of hypotheses about potential factors con-
                                           tributing to the onset and expression of gender dysphoria among AYAs. Emerging hypotheses
                                           include the possibility of a potential new subcategory of gender dysphoria (referred to as
                                           rapid-onset gender dysphoria) that has not yet been clinically validated and the possibility of
                                           social influences and maladaptive coping mechanisms contributing to the development of gen-
                                           der dysphoria. Parent-child conflict may also contribute to the course of the dysphoria. More
                                           research that includes data collection from AYAs, parents, clinicians and third party infor-
                                           mants is needed to further explore the roles of social influence, maladaptive coping mecha-
                                           nisms, parental approaches, and family dynamics in the development and duration of gender
                                           dysphoria in adolescents and young adults.

                                           Supporting information
                                           S1 Appendix. Survey instrument.
                                           (PDF)
                                           S2 Appendix. COREQ checklist.
                                           (PDF)


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